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                      Exhibit J
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               I,_




                              FISCAL AGENCY AGREEMENT


                                        Among


                              THE REPUBLIC OF VENEZUELA


                             BANCO CENTRAL DE VENEZUELA


                                            and


                             THE CHASE MANH A~~ ' BANK
                                     Fiscal A9,.en r~ \ ·

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                                          [\:::.)   V



                                        '
                               Dated as of Augus t 6, 1998




                                    DEBT SECURITIES




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   EXHIBIT C                        Form of Temporar y Bearer Global Security

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   EXHIBIT E                        Form of Certificate to be given by the EUROCLEAR Operator or
                                    CEOEL BANK. socieri anonyme

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                                                                        among THE REPUBLIC
        FISCAL AGEN CY AGREEMENT. dated as of Augus t 6, 1998,
                                                                   AL  OE VENEZUELA, as officia l
   OF VENEZUELA (the •Issue r- or -Venezuela•), BANCO CENTR
                                                                      MANH  ATTAN BANK." a
   financi al agent of Venez uela, (•Banco Centra r) and THE CHASE
                                                                      of New York, as Fiscal
   bankin g corpor ation duly organi zed and existin g under the laws
   Agent .

        1.   securities lssuabJe io Series.
                                                                            tures and/or other unsecured
        (a} General. Venez uela may issue its notes, bonds , deben
                                                                           from time to time (each such
   eviden ces of indebt edness (the •secur ities•) in separate series
                                                                        • or the •secur ities of a Series•).
   series of Securi ties being herein after referre d to as a •Series
                                                                         the Securities providi ng for the
   All Securi ties will be unsecu red (subje ct to the provisi ons In
                                                                          ions of Venezuela are
   securin g of such obliga tions in tha event certain other obligat
   secure d), direct, uncon ditiona l and genera  l obligat ions  of Venez   uela for money borrow ed
                                                                         among    themse lves. The
   and each Series will rank a.I!! J2AUll withou    t any  prefere  nce
                                                       at all times  rank  at least  equally with all other
   payme nt obligat ions under the Securi ties will
                                                               al Public  Debt  (as define  d in the
   payme nt obliga tions of Venez uela relatin g to Extern
                                                            of  Venez uela   will be pledge  d for the due
   Securi ties) of Venez uela. The full faIth and cntdit
                                                                                        ance    of all
   and punctual payme nt of an Securi ties and for the due         and  timely  perform
                                                                               al  amoun  t  of the
   obliga tions of Venez uela in respec t thereo f. The aggregate
                                                                       princip
                                                                            ed under this Agreem ent and
    Securi ties of all Series which may be authen ticated and deliver
    which may be outsta nding at any time is not limited by this
                                                                          Agreem ent.

         (b) Authgrjzatjon. The Securi ties of a Series deli ~ to
    in Sectio n 2 hereof) for authen ticatio n on original issua n~
                                                                                '
                                                                        the Fiscal Agent (as define d
                                                                    pu~ua nt to Section 3 hereof
                                                                   rizatio n•) execut ed by the
    shall be author ized by Venez uela in a certifj ~te (~n :Autho
                                                                    Finance, the Directo r General of
    Minist er of Financ e, the Directo r General ~ Mfnist rv of
                                                                     duly author ized to deliver an
    Pubflc Finance of the Minist ry of Finance 0! anothe r person
    Author ization by one of the forego ing and shall establi sh and,
                                                                       subject to Sectio n 3 hereof ,
    shall set forth or prescr ibe the manne r for determining:

             (iJ             Dosjgnatjon: the design ation of the Securities of such Series (which shall
                                                                                                ;
                             disting uish the Securi ties of such Series from all other Series)
                                                                                                        t
             (ii)            Aggregate Principal Amo1,1nt: any limit upon the aggregate principal amoun
                                                                                                   and deliver ed
                             of the Securi ties of such Series which may be authen ticated
                                                                    Securi ties authen  ticated  and delivered upon
                             under this Agree ment (excep t for
                                                                         ge  for, or in lieu of, other Securities of
                             registr ation of transfe r of, or in exchan
                                                                             this Agreem   ent or the  Securi ties of
                             such Series pursua nt to the provisi ons of
                             such Series):

             (iii)           Reqjstered!Bearer Form:    wheth er the Securi ties of such Series shall be in
                                                                                            with or withou t
                             registe red form withou t interes t coupon s or in bearer form
                                                                                             ties of such Series
                             interes t coupo ns, or both, and the terms upon which Securi
                                                                                              in anothe r form, if
                             in one form may be exchan ged for Securi ties of such Series
                     •       at all:

              Hv)            Temporary Global Securities:    whethe r Securi ties of such Series in registered
                                                                                               or in part. by
                              form and/or bearer form shall initially be repres ented in whole
                                                                     ties, the date, or the manne r of
                              one or more tempo rary global Securi



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                         determina tion of such date, prior to which interests in any such temporary
                         global Security mav not be exchange d for definitive Securities of such Series
                         (each an •exchang e Date•) and the extent to which and the manner in which
                         any interest on such temporar y global Security may be paid:

            (v)          Book Entry: whether the definitive Securities of such Series in registered form
                         and/or bearer form shall be represented by one or more definitive global
                         Securities to be deposited with a depositar y, and the terms upon which such
                         definitive global Securities may be exchange d for Securities of such Series not
                         in global form, If at all;

            (vii         fayment Oates. etc,:         the date or dates on which the principal of (and pre.
                             mium, if any,  on) and  the  interest on (and Additiona l Amounts, if any) the
                             Securities of such  Series  Is payable and the record dates, if any, for the deter-
                             mination of holders of   the  Securities of such Series to whom such principal
                             Cand premium, if any)   is payable;

            (viii            Interest Rates, etc,:   the rate or rates at which the Securities of such Series
                             shall beer interest, if eny, or the manner in which such rate or rates will be
                             determine d (including any provisions for the increase or decrease of such rate
                             or rates upon the occurrenc e of specified events), the date or dates from
                             which any such interest shall accrue, the inter,est payment dates on which
                             such interest shall be payable and the rec~ r dates, if any, for the
                             determina tion of holders of the Securi~          · uc~ Series to whom any auch
                             Interest Is payable:                  · ' .,....)

           (viii)            Payment Places: the place 'o      la ( ; ~ere the principal of (and premium, if
                             any) and any interest on t~e S      rities of such Serles is payable, where any
                             Securities of such Series in reg'lstered form may be surrendered for
                             registratio n of trensfer, where Securities of such Series may be surrendered
                             for exchange and where notices and demands to or upon the Issuer in respect
                             of the Securities of such Series may be served:

             (ix)            Optjonal Redemptjon features: the price or prices at which, the. period or
                             periods within which and the terms ~nd conditions upon which Securities of
                             such Series may be redeemed . whether in whole or in part, at the option of
                             the Issuer or otherwise ;

              (xi             Special Redemotjon Features: the obligation (which may be fixed or con•
                              tingent upon events), If any, of the Issuer to redeem, purchase or repay
                              Securities of such Series pursuant to any sinking fund or analogous provisions
                              or at the option of the holder thereof and the price or prices at which and the
                              period or periods within which for the manner in which such price or prices or
                              period or periods will be determine d) and the terms and conditions upon which
                              Securities of such Series shall be redeemed, purchased or repaid, in whole or
                     •        in part, pursuant to such obligation :

              Cxil            Oenomjnation: the denomina tion or denomina tions in which Securities of
                              such Series shall be Issuable and transferab le or exchangeable;




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        (xii)      Covenants: if other than as set forth in the forms of Securities attached
                                                                                          Issuer
                   hereto as Exhibits A, B and/or C, all covena nts or agreem ents of the
                                                                                          y of such
                   and any events which give rise to the right of the holder of a Securit
                   Series to acceler ate the maturit y of such Securit y;

       (xiii)      Special Pdm;jpa! Reoavment featuru: if other than all of the principal amount
                                                                                                 which
                   thereof , the portion of the principa l amoun t of Securit ies of such Series
                                                          of maturit y, or otherw ise, or the manner in
                   shall be payable upon acceler ation
                   which such portion will be   determ ined;

        (xiv)      Foreign Currency Features:     the coin or currenc y or compos ite currenc y in
                                                                                                  , or the
                   which principa l of land premiu m, if any) and any interes t are payable
                                                                compos  .i te currenc y will be  deter•
                   manner In which such coin, currenc y or
                                                                                                 Securities
                   mined: and if the princip al of (or premium , If any) or interes t on the
                   of such Series are to be payable , at the election      of the Issuer or  a holder
                                                                                                  other
                   thereof , In a currenc y or currenc ies, Includin g compos ite currenc ies,
                                                                                      payable  , the
                   than that or those in which the Securit ies are stated to be
                   currenc y or currenc ies in which paymen t of the principa l of Cor premium
                                                                                                       r if
                                                                                         election    is made
                   any) or interes t on Securit ies of such Series as to which such

                                                          ma0 \
                   shall be payable , and the periods within whlcfi\, nd the terms and
                   upon which such electio n Is to be                ~
                                                                                               conditio   ns



          (xv)     Index Features:   If the amq u~f   pay~n t1 of principa l of (or premium, if any)
                   or interes t on Securit ies of s h          ;Js
                                                          Is to be determ ined by reference to an
                   index, the manne r in which        amount s shall be determ ined;
                                                     "
         (xvi)      Specjal Payment Features:    the person to whom any interes t on any registered
                                                                                              whose
                    Securit y of such Series shall be payable if other than the person in
                                                           predece ssor Securit ies) is  register ed at
                    name such Securit y (or one or more
                                                          date for such  interes t and  the  manner   in
                    the close of business on the record
                                                                 t         bearer   Securit y of  such
                    which, or the person to whom, any intetes      on any
                                                                                                   er of
                    Series shall be payable if otherw ise than upon presen tation and surrend
                    the coupon s apperta ining thereto as they  several ly mature  ;


         (xvii)     Additional Amounts: if other than as set fonh in the forms of Securities
                                                                                             the Issuer
                    attache d hereto as Exhibit s A, Band/o r C, the obligati on, if any, of
                    to pay addition al amoun ts in respect of principa l of (and premiu m,  if any) and
                                                                                  tances  under  which
                    any Interes t on Securit ies of such Series, and the circums
                    any such obligati on shall arise:

        (xviii)     Leqend11: whethe r any legends shall be stampe d or imprint ed on any
                                                                                         any such
                    Securit ies of such Series, and the terms and conditio ns upon which
                    legends may be remove d:

          (xix)      S::eaificatjons: whethe r any cenifica tions by purchas ers or holders of the
              •      Securit ies of such Series should be required, and the form thereof
                                                                                           if other
                     than in substan tially the form of Exhibits D or E hereto;

            (xx)     Other Teems: any other terms of the Securities of such Series: and




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                                                                                       than in
       fxxi)   form pf Securitjc,s: the fo"" of the Securities of such Series if other
                                                                           .
               subst antial ly the form of Exhib its A, B and/o r C hereto

                                                               and copies thereo f shall be held on
Each Autho rizatio n shall be delive red 10 the Fiscal Agent
                                                           office of the Fiscal Agent in The City
file and available for inspe ction at the corpo rate trust
                                                           Cas referred to below ) for the
of New York, and in the office s of any Paying Agent s
                                                               s.
Securities of the Series to which the Autho rizatio n relate
                                                                       be issued ln registered form
      (c) Forms of Securitjes. The Secur ities of a Series 10
                                                    be issuab  le  in  substa ntially the form of
witho ut coupo ns (•registered Securities•> wlH
                                                   be establ ished    pursu   ant to an Autho rizatio n and
Exhibit A hereto or such other form as shall
                                                              The Securities of a Series, if any. to
in the denom inatio ns specif ied in such Autho rizatio n.
                                                                 ns attach ed c·beerer Securities•),
be issued in beare r form, with or witho ut imere st coupo
                                                                        (or, in the case of a tempo rary
will be issuab le in subst antial ly the form of Exhib it B hereto
                                                       of Exhib  it  C  hereto) or such other form as
bearer globa l secur jty. in subst antial ly the form
                                                                 in   the  denom ination s specified in
shall be established pursu ant to such Autho rizatio n and
                                                            which      are not in tempo rary form are
such Autho rizatio n. In this Agree ment. (i) Secur ities
                                                                    are  in  tempor.ary form are referred
 referred to as •defin itive Secur ities• and Secur ities which
                                                              which     are  not In tempo rary form are
 to as "temp orary Secur ities•. (iii regist ered Securities
                                                               such Securities are In globa l form, in
 referred to as •defin itive regist ered Securities• (unless
                                                                  global Securities•) and registered
 which case they are referr ed to es •detin iti\/e registered
                                                                es ~emp orary regist ered Securities•
 Securities which are in tempo rary form are referre d to
                                                                    they are referred to as "temp orary
  (unless such Secur ities are in global form, in which case
                                                                which are not in tempo rary fotm are
  registered globa l Secur ities•) and (iii) bearer Securities
                                                                  Securities are in globa l form, in
  referred to as •defin itive bearer Secur ities• (unless such
                                                                       Securities") and bearer Securities
  which case they are referr ed to as •defin itive bearer global
                                                                       ~er ~ecur ities• (unless such
  which are in tempo rary form are referred to as. 8temporal)'.__
  Secur ities are ln global form, in which case they are
                                                               efer~ d'lg as>te mpora ry bearer global
  Secur ities•) .
                                                                   0

      All Secur ities shall be execu ted manu ally     ~     f~ slmile on behal f of Venezuela by such
                                                                     rized by an Autho rizatio n (each, an
 officia l or officia ls of Venez uela as shall have b&en autho
                                                                       execu ted any Secur ity shall
 • Autho rized Officia l•). In case any person who shall have
                                                        which   such     person so execu ted such
 therea fter cease to hold the office by virtue of
                                                       ry thereo  f, such   Securities may neven heless
 Secur ity prior to the authe nticat ion and delive
                                                         person  had     not  ceased to be an Autho rized
 be authe nticat ed and delive red as thoug h such
                                                               additio    nal provis ions, omissions, varia-
 Official. The Secur ities of a Series (i) may have such
                                                                 provis   ions  of this Agree ment or of an
 tions or subst itution s as are not incon sisten t with the
                                                                  or   other  marks   of identi ficatio n and
  Autho rizatio n, and (ii) may have such letters , numb ers
                                                                       rizatio n placed  thereo n as may be
  such legen ds or ehdor semen ts not referred to in an Autho
                                                                       any rules   made   pursu ant theret o
  required to comp ly with this Agree ment, any law or with
                                                                        tal agenc  y or as  may, consis tently
  or with the rules of any secur ities excha nge or gover nmen
                                                                   Autho rized    Officia ls execu ting such
  herew ith, be determ ined neces sary or advisable by the
                                                                      ced by their   execu   tion of such
  Secur ities, in each case (ii and (ii) as conclu sively eviden                                       cal
                                                                  otherw ise substa     ntially identi
   Secur ities. All Secur ities of a partic ular Series shall be
                                                                In an Autho rizatio n.
   excep t as tb denom inatio n and as provid ed herein or
                                                                of a Series are prepared, the
      (d) Temporary Securities. Until defini tive Securities
                                                   es, the Issuer shall) execu te, and there shall be
  Issuer may (and, if an Autho rizatio n so requir
                                                                ions of Sectio n 3 hereo f (in.lieu of
  authe nticat ed and delive red in accord ance with the provis



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definitive printed Securities of such Series), temporary Securities of such Series. Such
temporary Securities may be in global form: prgyided, however, that any temporary Security
fn global form shell be in registered form unless delivered in compliance with the conditions
set forth in Section 1 (e) hereof. Such temporary Securities of a Serles shall be subject to
the same limitations and conditions and entitled to the same rights and benefits as definitive
Securities of such Series, except as provided herein or therein. Unless otherwise provided
herein or therein, temporary Securities of a Series shell be exchangeable for definitive
Securities of such Series when such definitive Securitles are available for delivery; and upon
the surrender for exchange of temporary Securities of a Series which are so exchangeable,
the Issuer shall execute and there shall be authenticat nd and delivered, in accordance with
the provisions of Sections 5 and 6 hereof, in exchange for such temporary Securities of a
Serles, a like aggregate principal amount of definltlvn Securities (provided that such
SecurttJes have not been previously redeemedl of such Series of like tenor. The Issuer shall
pay all charges, including (without limitation) stamp and other taxes and governmental
charges, incident to any exchange of temporary Securities fb( definitive Securities. All
 temporary Securities shull be Identified as such and sh~sc,tb e the right of the holder
thereof to effect an exchange for definitive Securi ti~~ manner in which such an·
 exchange may be effected.                        (f,,\>
     (e) (i) PtlQtoaUy Issued Beltlr Securit1
                                             · ~~  Is Section 1 Cel(i) shall apply only to
definitive bearer Securities, temporary bearet Securities and definitive bearer global
Securities which are originally Issued at the time of sale thereof.

     The Issuer shall not deliver for original Issuance at the time of sale thereof any
definitive bnarer Security, temporary bearer Security or definitive bearer global Security of
any Series to the person entitled to physical delivery thereof (other than EUROCLEAR or
CEDEL (eech as defined below)) except upon delivery by such person to the Issuer of a
certificate in substantial ly the form set fonh In Exhibit O hereto and where the person
entitled to physical delivery of such Securities is EUROCLEAR or CEDEL, only upon delivery
to the Issuer of a certificate substantiall y in the Form set forth In Exhibit E hereto.
Notwithsta nding any other provision hereof or the Securities of a Series, no bearer Security
of such Serles may be mailed to or otherwise delivered to any location within the United
States In connection with their sale during the restricted period (as defined In United States
Treasury Regulations Section 1.163-5(c)(2) (i}(0)(7U.

         (if)   Temporary Bearer Global Sa,:uritl§S, This Section 1 (e)(li) shalf apply only to
 temporary bearer global Securities delivered to a common depositary or Its nominee (the
 •common Depositary") for the benefit of Morgan Guaranty Trust Company of New York,
 Brussels office, as operator of the EUROCLEAR system ("EUROCLEAR"l, or CEDEL BANK,
 societe snonyme rceoa•), except as otherwise may be provided in tha Authorizati on.
      If the Authorizati on reloting to the Securities of a Serles so provides, bearer Securities
 of such Series shall be issued initially in the form of a temporary bearer global Security In
 substantial ly the form of Exhibit C hereto or such other form as shall be established
 pursuant to such Authorizati on. The temporary bearer global Security of a Series will be
 exchangea ble, as provided below. for definitive bearer or definitive registered Securities of
 such Series or. If such Authorizati on so provides, in the form of one or more definitive
 bearer global Securities or definitive registered global Securities, or any combinatio n thereof
 specified or contemplat ed by such Authorizati on. The term •securities of a Series· as used
 herein includes any temporary bearer global Security of such Series•



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                                                  •5.
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                                                         a Series shall be exec uted by the Issuer
      Any such temp orary bear er globa l Secu rity of
                                                    l Agen t shall, upon the order of the Issuer.
 and delivered to the Fiscal Agent, and the Fisca
                                                     rity and deliver. such temp orary bearer global
 authe ntica te such temp orary bearer globa l Secu
                                                      fit of EUROCLEAR and CEDEL for credi t to
 Secu rity to the Com mon Depo sitary for the bene
                                                       of Securities of such Series on the records
 the respe ctive acco unts of the bene ficial owne rs
                                                 acco unts as they may direc t).
 of EUROCLEAR and CEDEL (or to such othe r
                                                               the intere st of a beneficial owne r of
      Unless other wise spec ified in an Auth oriza tion,
                                                   r global Security of such Series shall be
 Secu rities of a Series in the temp orary beare
                                                       itive bearer global Securities of such Series,
 exch ange d for an Inter est in one er more defin
 when the acco unt holde r instr ucts EUROCLEA
                                                     R or CEOEL, es the case may be, to request
                                                   EUROCLEAR or CEDEL. as the case may be, a
 such exch ange on his beha lf and deliv ers to                                                         s
                                                    in Exhibit D hereto, copies of whic h certificate
 certi ficate in subs tantia lly the form set fonh                                            an
                                                     R, CEDEL and the Fiscal Agen t. If
 shall be available at tha offic es of EUROCLEA
                                                         relating to the Securities of a Series to be
 Exchange Date is specified in an Auth oriza tion
                                                        defin itive Securities of such Series shall be
 applicable to the Securities of such Series, no
                                                           to such Exchange Date . Any exchange
 exch ange d pursu ant to this Sect ion 1 (e)(il) prior
                                                        free of charge to the beneficial owners of the
 pursu ant to this Sect ion 1 (e)(li) shell be made
                                                       a person receiving defin itive Securities must
 temp orary bearer globa l Secu rity, exce pt that
                                                      l Agen t of insurance, postage, trans porta tion
  bear the cost payable in adva nce to the Fisca
                                                          not take delivery of such defin itive
  and the like In the even t that such perso n does
                                                           R or CED R. Notw ithsta nding any other
  Secu rities in person at the office s of EUROCLEA
                                                        s, no b..& r S~u rity of such Series may be
  provi sion hereo f or of the Secu rities·of a Serie
                                                     n wit~ ~le tiur ing the restricted period (as
  mailed to or other wise delivered in conn ectio
  defin ed in Unite d State s Trea sury Regulation
  withi n the Unite d State s.                 ,  '© . .)
                                                     s ,tt:tios 1. 163-5(c)C2)(i)(0)(7)) to a locat ion



        On or after the applicable Exchange Da~e. or
                                                             if no Exchange Date is specified in the
                                                            s to be applicable to Securities of such
  Auth oriza tion relati ng to the Secu rities of a Serie
                                                      the date of original issuance of the Securities
  Series, on or after the fortie th day follow ing
                                                            rity of such Series shall be surrendered by
  of such Series, the temp orary beare r globa l Secu
                                                      outside the United States, as the Issuer's
  the Com mon Depo sitary to the Fiscal Agen t
  agen t, for purposes of the exch ange of Secu
                                                      rities described below . In the even t the ·
                                                         s is to be exchanged for one or more
  temp orary bearer global Secu rity of such Serie
                                                        itive  registered globa l Securities, follow ing
  defin itive bearer globa l Secu rities and/o r defin
                                                           te and deliver such defin itive Securities to
  such surre nder the Fiscal Agen t shall authe ntica
                                                            CLEAR and CEDEL for credi t to the
   the Com mon Depo sitary for the bene fit of EURO
                                                        of  Secu  rities of such Series on the records of
   respe ctive acco unts of the bene ficial owne rs
                                                           unts as they may direc t), but only upon
   EUROCLEAR and CEDEL (or to such othe r acco
                                                              may be, to the Fiscal Agen t of a certif icate
   deliv ery by EUROCLEAR and CEOEL, as the case
                                                             in Exhib it E here to. In the even t the
   or certif icate s subs tantia lly in the form set forth
                                                       is to be exchanged for one or more defin itive
   temp orary bearer global Secu rity of a Series
                                                       Securities, follow ing such surrender, upon the
    bearer Securities and/o r defin itive registered
                                                        behalf of beneficial owne rs of Securities, the
    reque st of EUROCLEAR or CEOEL, actin g on
    Fiscal Agen t shall authe ntica te and deliv er to
                                                         EUROCLEAR or CEDEL. as the case may be,
                                                             r Securities or defin itive registered
    for the acC'Ount of such owne rs, defin itive beare
                                                            be specified by such owne rs, in exchange
    Securities, or any comb inatio n there of, as shall
                                                           orary bearer global Secu rity of such Series
    for the aggregate princ ipal amou nt of the temp
                                                         upon delivery by EUROCLEAR and CEDEL, as
    bene ficial ly owne d by such owne rs, but only




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the case mav be, to the Fiscal Agent of a cenificate or certificate s substantia lly in the form
set forth in Exhibit E hereto.

      Upon any exchange of a ponion of the temporar y bearer global Security of a Series for
definitive Securities of such Series, the temporar y bearer global Security of such Series shall
be endorsed to reflect the reduction of the principal amount evidenced thereby, whereupon
its remaining principal amount shall be reduced for all purposss by the amount $0
exchange d. Until so exchange d in full, the temporar y bearer global Security of a Series shall
In all respects be entltled to the seme benefits under this Agreement as definitive Securities
of such Series authentic ated and delivered hereunder, except that neither EUROCLEAR nor
CEDEL nor the beneficial owners of the temporar y bearer global Security of such Series
shall be entitled to receive payment of interest thereon: proyjdad that beneficial owners of
the temporar y bearer global Security of such Series, and EUROCLEAR or CEDEL on their
behalf, shall be entitled to receive payment of interest In respect of the definitive global or
 bearer securities, as the case may be, in accordan ce with the terms of such Securities
following delivery by the beneficial owners to EUROCLEAR or CEOEL. as the case may be,
 of a ceniflcate substanti ally in the form set forth in Exhibit D hereto and delivery by
 EUROCLEAR or CEDEL to the Fiscal Agent of a certificate substantia lly in the form set forth
 In Exhibit E thereto.                                     ,               ·

      (f)liJ   u.s, Bqok-Emrv Provjsjons.This Seet1" ~ )fil ',hall apply only to definitive
registered global Securities of a Series depo~     e~l~r  on behalf of a depositary located in
the United States (a •u.s. Depositar y").   cept may   otherwise     be provided in an Author-
ization.                               •       _,,
                                               _

        If the Issuer shall establish in an Authoriza tion that the registered Securities of a Series
 are to be lss~ed in whole or in part in the form of one or more definitive registered global
 Securities deposited with or on behalf of a U.S. Depositary, then the Issuer shall execute
 and the Fiscal Agent shall, in accordan ce with this Section 1 (fl(i) and the Authoriza tion with
 respect to such Series, authentic ate and deliver one or rnore definitive registered global
 Securities that (i) shall be registered in the name of the U.S. Depositar y for such global
 Security or Securities or the nominee of such U.S. Depositary, (II) shall be delivered by the
 Fiscal Agent to such U.S. Depositar y or pursuant to such U.S. Depositar y's instructio n and
 (iii I except as otherwise provided in such Authoriza tion, shall bear a legend .substant ially
                                                                                                       to
                          •unless   this certificate is presented  by  an authorized  represent  ative of
 the following effect:
 (insert name and address       of the  U.S. Depositar   y) to the Republic   of Venezuel a or its agent
                                                                                                        In
 for registratio n of transfer, exchange or payment, and any certificate Issued Is registered
 the·narne of (insert name      of nominee    of the  U.S.  Oepositar yl or such  other name  as  r~-
 quested by an authorize d represent ative of (insen name of the U.S. Depositar y) land any
  payment is made to {insert name of nominee of the U.S. Depositary) or -to such other entity
  as is requested by an authorized represent ative of (insert name of U.S. OepositaryU, ANY
  TRANSFER, PLEDGE OR OTHER USE HEREOF FOR VALUE OR OTHERWISE BY OR TO ANY
  PERSON IS WRONGFUL inasmuch the registered owner hereof, linsen name of nominee of
  the U.S. Depositar yl, has an interest herein•.

      Mem~rs of, or participan ts in, a U.S. Oepositary ("Agent Members") shall have no
                                                                                             on
 rights under this Agreeme nt with respect to any definitive registered global Security held
 their behalf by a U.S. Depositar y or under the global Security, and such U.S. Depositar y
 may be treated by the Issuer, the Fiscal Agent, and any agent of the Issuer or the Fiscal
 Agent as the sole owner of such definitive registered global Security for all purposes



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whatsoever. Notwithst anding the foregoing, nothing herein shall prevent the Issuer, the
Rscel Agent, or any agent of the Issuer or the Fiscal Agent, from giving effect to any
written certificati on, proxy or other authorization fumiahed by I U.S. Depositary or impair,
as between a U.S. Depositary and its Agent Member1, the operation of customary practices
governing the exercise of the rfghu of a holder of any Security.

     fii)   Offshore Bppk-Ent,y Ptgyiston1- Thia Section 1CflCii) shall apply only to definitive
bearer global Securities of a Series delivered to the Common Depositary for the benefit of
EUROCLEAR and CEDEL, except as otherwiae may be provided In an Authorization.

     The provisions of the •operatin g Procedures of the EUROCLEAR System· and the
-rarms and Conditions Governing Use of EUROCLEAR• and the •Management Regulations•
and •1nstntct1ons to Participants• of CEOEL, respectively, shan be applicable to definitive
bearer global Securities of a Series delivered to the Common Depositary for the benefit of
EUROCLEAR and CEOEL. Account holders or participants in EUROCLEAR and CEDa shall
have no rights under this Agreement with respect to any such definitive bearer global
Securities delivered to the Common Depositary for the beneflt of EUROCLEAR and CEDEL
for credit to the respective accounts of such account holders or participants, and such
Common Depositary may be treated by the Issuer, the Fiscal Agent, and any agent of the
Issuer or the Fiscal Agent as the owner of any such definitive bearer global Securities for all

Issuer, the Fiscal Agent, or any agent of the Issuer or    theical
purposes whatsoev er. Notwithst anding the foregoing, nothin~ herein shall prevent the

any written certificati on, proxy or other authorita tlon fur     ed
                                                                      Agent, frorn giving effect to
                                                                     by the Common Depositary
or impair, as between the Common Depositary and ltzacco            t ~lders  or participants, the
operation of customary practices governing the       ~!~e     ~f the rights of a holder of any
Security.                                     , (P       }di0


     (g) Legends. Securities of a Series shall Wstamped or otherwise be Imprinted with
 such legends, If any, as are provided In an Authorization or pursuant to Section 1 Cc) hereof.
 Any legends so provided may be removed u provided In an Authorization or pursuant to
 Section 1 Ic) hereof.

      2.    Bscat Agent; Other Agents.
      The Issuer hereby appoints The Chase Manhatta n Bank, having a corporate trust office
 at 450 West 33rd Street, 15th Floor and a payment office at 450 West 33rd Street, 15th
 Floor (for payments, exchanges and transfers), each in The City of New York (together, the
 •corporat e Trust Office•), as fiscal agent of the Issuer in respect of the Securities upon the
 terms and subject to ·the condition s herein set forth, and The Chase Manhattan Bank hereby
 accepts such appointm ent. The Chase Manhattan Bank and any successor or successors
                                                                                                as
 such fiscal agent qualified and appointed   in accordanc  e with Section  9 hereof, are herein
 called the •Fiscal Agent•. The Fiscal Agent shall have the powers and authority granted to
 and conferred upon it in the Securities and hereby and such further powers and authority to
 act on behalf of the Issuer as may be mutually agreed upon by the Issuer and the Fiscal
 Agent. All of the terms and provisions with respect to such powers and authority contained
 In the Securities are subject to and governed by the terms and provisions hereof. The Fiscal
  Agent shall keep a copy of this Agreement available for inspection during normal business
 hours at its Corporate Trust Office.




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     The Issuer may. in its discretion, app0int one or more agents (a •Paying AgenC- or
"Paying Agents") for the payment (subject to applicable laws and regulatlons) or the
principal of land premium, If any) and anv interes~ an the Securities of a Series. and one or
more agents (a "Transfer Agent• or -Transfer Agents•) for the transfer and exchange of
Securities of a Series, at such place or places as the Issuer may determine: proylded. tmw:
Jra!, that for so long as 11ny Securities of such Series are listed on the Luxembourg Stock
Exchange or the stock exchange of Hong Kong Umited, and such Exchange shall so require,
the Issuer shall maintain a Paying Agent in Luxembourg or Hong Kong, as the case may be:
and provided. funher. that. in the event Securities are issued in registered form, the Issuer
shall at all times maintain a Paying Agent, Registrar and Transfer Agent in The City of New
York (which Paying Agent and Transfer Agent may be, and initially shall be, the Fiscal
Agent), The Issuer shall promptly notify the Fiscal Agent of the name and address of each
Paying Agent and Transfer Agent appointed by it and of the CQuntrv or countries in which a
Paying Agent or Transfer Agent may act in that capacity. and will notify the Fiscal Agent of
the resignation or termination of any Paying Agent or Transfer Agent. Subject to the
provisions of Section 9(c) hereof, the Issuer may vary or termlnate the appointment of anv
such Paying Agent or Transfer Agent at any time and from time to time upon giving not less
than ninety days' notice to such Paying Agent or Transfer Agent, as the case may be, and
to the Fiscal Agent. Notwithstanding the foregoing, if the Issuer issues bearer Securities of
a Series. to the extent provided in the Securities of such Series, the Issuer shall maintain
under appointment a Paying Agent or Paying Agents with respect to such Series outside the
United States of America (Including the States and the District of Columbia), its territories.
its possessions and other areas subject to its jurisdiction lthe "United States•) for the
payment of principal of (and premium. if any) and any Interest on bearer Securities of such
Series.

     In respect of the Securities of a Series. the Issuer shall 'bause notice of any resignation.
termination or appointment of any Paying Agent or Tran~~ A9l!nt or of the Fiscal Agent
and of any change in the office through which any sf,.,c~nt .tvm act to be given as
provided in the text of the Securities of such Ser~
                                                       Ci\)
                                                    · • /

     3.    Authentication.                   '   ©
      The Fiscal Agent Is authorized, upon receipt of Securities of a Series duly executed on
behalf of the Issuer for the purposes of the original issuance of Securities of such Series,
Ii) to authenticate the said Securities in an aggregate principal amount not in excess of the
aggregate principal amount specified in the text of the Securities of such Series in accor-
dance with an Authorization and to deliver the said Securities in accordance with the
written order or orders of the Issuer signed on Its behalf by any person authorized by or
pursuant to an Authorization and (ii) thereafter to authenticate and deliver Securities of
such Series in accordance with the provisions therein or hereinafter set fonh. Each
registered Security shall be dated the date of its authentication.

     Notwithstanding the provisions of Section 1 (b) and of the preceding paragraph, if all
Securities of a Series are not to be originally issued at one time, it shall not be necessary to
deliver an Authorization otherwise required pursuant to Section 1 (bl or the order or orders
otherwise required pursuant to such preceding paragraph at or prior to the time of
authentication of each Security of such Series If such documems are delivered at or prior to
the time of authentication upon original issuance of the first Security of such Series to be
issued.



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     No Security shall be entitled to any benefit under this Agreement or be valid or
obligatory for any purpose unless there appears on such Security a certificate of
authenticat ion executed by the Fiscal Agent or any authenticat ing agent by manual
signature. and such certificate upon any Security shall be conclusive evidence. and the only
evidence. that such Security has been duly authenticat ed and delivered hereunder and is
entitled to the benefit of this Agreement .

     The Aseal Agent may, with the written consent of the Issuer. appoint by an instrument
or instruments in writing one or more agents (which may include itself) for the authen•
ticatlon of Securities of a Series and. with such consent. vary or terminate any such
appointmen t upon ,written notice and approve any change in the office through which any
authenticat ing agent acts. The Issuer (by written notice to the Fiscal Agent and the
authenticat ing agent whose appointmen t is to be terminated) may also terminate any such
appointmen t at any time. The Fiscal Agent hereby agrees to solicit written acceptances
from the entities concerned (in form and substance satisfactory to the Issuer) of such
appointmen ts. In its acceptance of such appointmen t, each st,ch authenticating agent shall
agree to act as an authenticat ing agent pursuant to the ~ il{'d conditions of this Agree-
ment.                                                0~ )
     4.   Pava,ent and cancelluJon.        . (F'~ 0
     lal Payment. Unless otherwise agreed, ~ act to the following provisions, the Issuer
shall provide to the.fiscal Agent, no later than 10:00 a.m. (New York City timel, in
immediatel y available funds on the business day in New York prior to each date on which a
payment of principal of (or premium, if any> or any interest on the Securities of a Series
shall become due, as set forth in the text of the Securities of such Series, such amount, in
such coin or currency, as is necessary to make such payment, and the Issuer hereby
authorizes and directs the Fiscal Agent from funds so provided to it to make or cause to be
made payment of the principal of (and premium, if any) and any interest on, as the case
may be, the Securities of such Series as set forth herein and in the text of such Securities.
The Fiscal Agent shall arrange directly with any Paying Agent who may have been
 appointed by the Issuer pursuant to the provisions of Section 2 hereof for the payment from
 funds SQ paid by the Issuer of the principal of (and premium, if anv• and any interest on the
 Securities of such Series as set forth herein and in the text of such Securities. Notwith-
 standing the foregoing, where an Authorizati on expressly so provides, the Issuer may
 provide directly to a Paying Agent funds for the payment of the principal thereof and
 premium and interest, if 11ny, payable thereon under an agreement with respect to such
 funds containing substantial ly the same terms and conditions set forth in this Section 41a)
 and in Section Bib) hereof and shall so advise the Fiscal Agent in writing; and the Fiscal
 Agent shall have no responsibility with respect to anv funds so provided by the Issuer to
 any such Paying Agent.

     The Issuer will deliver to the Fiscal Agent by 10:00 a.m. (New York City time). two
 business days prior to each payment date an irrevocable confirmatio n (by tested telex or
 authenticat ed SWIFT MT 100 Message} of its intention to make such payment.

     Any interest on registered Securities of a Series shall be paid, unless otherwise
 provided in the te><t of the Securities of such Series, to the persons (the •registered
 holders") in whose names such Securities are registered on the register maintained pursuant
 to Section 6 hereof at the close of business on the record dates de:.ignated in the text of



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the Securities of such Series. Principal of land premium, If anv, on) registered Securities of
a Series shall be payable egainst surrender thereof at the corporate trust office of the Fiscal
Agent and at the offices of such other Paying Agents as the Issuer shall have appointed
pursuant to Section 2 hereof, and payments of any interest on registered Securities of a
Serles shall be made, in accordance with the foregoing and subject to applicable laws and
regulations, by check mailed on or before the due date for such payment to the person
entitled thereto at such person's address appearing on the register of the Securities of such
Serles maintained pursuant to Section 6 hereof, or, in the case of payments of principal
(and premium, if any), to such other address as the registered holder shall provide in writing
at the time of such surrender: proyjded. however. that, if provided in the Authorization
relating to the Securities of such Series, such payments may be made, in the case of a
registered holder of greater than the aggregate principal amount of Securities of such Serles
specified in such Authorization, by transfer to an account denominated in the currency In
which such payments are to be made maintained by the payej with a bank as specified in
such Authorization if such registered holder so elects by iiv'•g'wrltten notice to the Fiscal
Agent, not less than 15 days (or such fewer days as the         al Agent may accept at its
discretion) prior to the date of the payments to be obtaiil'ed, f sGch election and of the
account to which payment is to be made. .           ~    0
     Any interest on bearer Securities of a Se~hall be payable by check or wire transfer
upon surrender of any applicable coupon, and principal of {and premium, If any; on) bearer
Securities of such Series shall be payable by check 0r wire transfer upon surrender of such
Securities, at such offices or agencies of the Rscal Agent or any Paying Agent outside the
United States as the Issuer may from time to time designate, unless the Issuer shall have
otherwise instructed the Fiscal Agent in writing, or additionally or alternatively, In such
other manner as may be set forth or provided for In the Securities of such Series. No such
check which is mailed shall be malled to an address in the United States. nor shall any
transfer made in lieu of payment by check be made to an account maintained by the payee
with a bank in the United States. Neither the Fiscal Agent nor any Paying Agent shall. and
the Issuer shall not instruct the Fiscal Agent or any Paying Agent to, make such payments
on bearer Securities of a Series at an office or agency located in the United States unless
such payments are to be made in U.S. dollars and payment of the full amount so payable at
each office of the Fiscal Agent and of each Paying Agent outside the United States
appointed and maintained by the Issuer in accordance with Section 2 hereof is Illegal or
effectively precluded by reason of the imposition of exchange controls or other similar
restrictions on the full payment or receipt of such amount in U.S. dollars.

     If the Fiscal Agent pays out any amount due under the terms of the Securities on or
after the due date thereof on the assumption that the corresponding payment for such
amount has been or will be made by the Issuer and such payment has in fact not been so
made by the Issuer prior to the time the Fiscal Agent makes such payment, then the Issuer
shall on demand reimburse the Fiscal Agent for the relevant amount, and pay interest to the
Fiscal Agent on such amount from the date on which such amount is paid out to the date of
reimbursement at a rate per annum equal to the cost (to the Fiscal Agent) of funding the
amount paid out, as certified by the Fiscal Agent and expressed as a rate per annum.

     Interest on Securities of a Series in which the rate of interest is a fixed rate will be
computed on a basis of a 360-day year of twelve 30-day months unless otherwise provided
in the Authorization relating to Securities of such Series.




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      (bl Wjthbolding; Payment of Addjtjonol Amounts. In respect of the Securities of each
Series issued hereunder. at least 10 days prior to the first date of payment of interest
(which, for purposes of this subsection tb), shall include accrued original Issue discount) on
the Securities of such Series and at least 10 days prior to each date, if any, of payment of
principal (and premium, if any) or interest or other amount thereafter if there has been any
change with respect to the matters set forth in the below-mentioned certificate, the Issuer
will furnish the Fiscal Agent and each other Paying Agent with a certificate of an Authorized
Official instructing the Fiscal Agent and each other Paying Agent whether such payment of
principal of land premium, if any) or any interest on such Securities shall be made without
deduction or withholding for or on account of any tax, duty, assessment or other
governmental charge. If any such deduction or withholding shall be required, then such cer-
tificate shall specify, by country, the amount, if. any, required to be withheld or deducted on
such payment to holders of such Securities or any coupon appenaining thereto, and the
Issuer will pay to the Fisc~I Agent (or, if applicable, directly to a Paying Agent or Agents)
additional amounts, If any, required by the terms of such Secu~ties to be paid. The Issuer
agrees to indemnify the Fiscal Agent and each other Payin~ge~t for, and to hold them
harmless against, any loss, liability or expense reason~~          rre~ without negligence or
bad faith on their part arising out of or in connaeA•Wltti a ons taken or omitted by them
in reliance on any cenificate furnished purJuat
                                              .       reto. 0
                                                      ~



     Cc) CanceHation. All Securities, together       ~all coupons appertaining thereto.
delivered to the Flscal Agent (or any other Agent appointed by the Issuer pursuant to
Section 2 hereof) for payment, redemption, registration of transfer or exchange or for credit
against any sinking fund payment as provided herein or in the Securities and all coupons
peld through the application of interest Installments (other then Securities and coupons
delivered to the Fiscal Agent}, shall be marked •cancelled• and, in the case of any other
such Agent, forwarded to the Fiscal Agent by the Paying or Transfer Agent to which they
are delivered. If any Security shall have been authenticated and delivered hereunder but
never issued or sold by the Issuer thereof. the Issuer may deliver such Security to the Fiscal
Agent for cancellation together with a written statement stating that such Security has
never been issued and sold by the Issuer. All such Securities and coupons shall be cancelled
and destroyed by the Fiscal Agent or such other person as may be jointly designated by the
Issuer and the Fiscal Agent, and the Rscal Agent or such other person shall thereupon
furnish certificates of such destruction to the Issuer.

     (d) lostryctjons of the Republic to Banco Central-       The Issuer hereby irrevocably
and unconditionally agrees that each payment to be made by the Issuer under this
Agreement and the Securities shall be effected through Banco Central, and to that eft_ect in
connection with the issuance of each Series of Securities it shall instruct Banco Central to
remit (as and to the extent provided in Section 2(a) of the form Banco Central Undertaking
to be delivered in connection with each issuance of Securities, the form of which is
attached hereto as Exhibit F) an amount equal to each payment of principal, interest
(including Additional Amounts), or other amounts required to be paid by the Issuer for the
benefit of the holders and the Paying Agents to the person, at the time and place. and in
tha manner provided In this Agreement and the Securities. In this regard, the Issuer
irrevocably-and unconditionallv agrees to deposit, from time to time, at Banco Central, in
the accounts specially established for this purpose, the Bolivars required for each payment
prior to the date such payment is required to be made and to deliver, in a timely manner, to
Banco Central the authorizations (the ·orders·) necessary for it to effect the required
conversion of Bolivars into the currencv in which the Securities are denominated. The



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Issuer agrees that no such deposit of funds with Banco Central shall be deemed to
constitute payment to any holder or any Paying Agent of any amount payable to such
holder or Paying Agent end funher agrees that nothing in this Section or in the Banco
Central Undertaking shall excuse any failure by the Issuer to pay any amount on the date
such payment is required to be made by the Issuer by the terms of this Agreement and the
Securities or otherwise affect an any way any of the rights of any holders or any Paying
Agent. The Issuer agrees that, In the event that any payment required to be made by the
Issuer hereunder or under any Security is not effected through Banco Central et or prior to
the time such payment is required to be made by the terms of this Agreement and the
Securities, it will effect such payment In accordance with the terms of this Section or the
relevant provisions of such Security.

     (e) References to Include Additional Amounts. All references in this Agreement to
principal, premium and Interest and other amounts payable in respect of Securities of a
Series shall, unless the context otherwise requires, be deemed lo mean and Include all
additional amounts, if any.. payable in respect thereof as ~tjfprtn_ herein or in the text of
the Securities of such Series.                      ~~ ~ )
                                               I   (?~ \ \)
     6. Exchange pt sopurjties.                    V:::::!) \....,'
    (al General- The Fiscal Agent, or its duly authorized agent, is hereby authorized from
                                                   \


time to time· in accordance with and subject to the provisions of the Securities and of this
Agreement !including Section 3 hereof and this Section 5) to authenticate and deliver:

        (I)      Securities of a Series in exchange for or in lieu of Securities of such Series of
                 like tenor and form which become mutilated, defaced, destroyed, stolen or
                 lost;

        (ii)     registered Securities of a Series of authorized denominations in exchange for a
                 like aggregate principal amount of registered Securities of such Series of like
                 tenor and form;

         Uiil    if bearer Securities of a Series are authorized to be issued, registered
                 Securities of such Series in exchange for a like aggregate principal amount of
                 bearer Securities of such Series of like tenor and form;

         (Iv)    if Securities of a Series are subject to panlal redemption, Securities of a
                 Series of authorized denominations in exchange for the unredeemed portion of
                 any Securities of such Series redeemed in part only; and

         ('11)   if specifically so provided by the provisions of the Securities of a Series,
                 Securities of such Series in exchange for Securities of another Serles:

 provided. however. that any definitive registered global Security shall be exchangeable only
 as provided in Sections Sfa)(i), 5(a)(ivl and Sfcl and any definitive bearer global Securities
 delivered to a Common Depositary shall be exchangeable only as provided in Sections
 5(a)(i), 5fa)fiv} and 51d).

      lbl Bearer and Registered Securjtjes. Bearer Securities may not be issued in exchange
 for registered Securities. All bearer Securities of a Serles surrendere~ for exchange for other



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Securities of such Series shall have attached thereto all unmatured coupons appenaining
thereto. Unless otherwise provided in the applicable Authorization, bearer Securities shall be
dated the date from which any interest on the Securities of such Series first begins to
accrue. Registered Securities shall be dated the date of their authentication by the Fiscal
Agent. Notwithstanding anything to the contrary herein contained, such Security
authenticated and delivered upon any transfer or exchange for or in lieu of the whole or any
pan of any Security shall carry all the rights if any, to interest accrued and unpaid and to
accrue which were carried by the whole or such part of such Security. Each new Security,
If a registered Security, shall be so dated, and, if a bearer Security, shall have attached
thereto such coupons, that neither gain nor loss in Interest shall result from such transfer or
exchange.

     (c, Definitive Registered Global Securjtjes. This Section 5(c) shall apply only to
definitive registered global Securities deposited with a U.S. Depositary pursuant to
Section 1(f)(l). unless othBJWise provided In the Authorization.

     A definitive registered global Security shall be exchangeable for definitive registered
Securities of such Series if (x• the U.S. Depositary with respect to such definitive registered
global Security notifies the Issuer that lt Is unwilling or unable to continue as U.S. Deposi-
tary for all global Securities or if at any time such U.S. Depositary ceases to be u clearing
agency registered under the U.S. Securities Exchange Act of 1934, as amended, and a
successor U.S. Depositary is not appointed by the lssuer w~n ninety days, (y} the Issuer
delivers to the Fiscal Agent a written notice executed b~uttiqrized Officials that all
definitive registered 'global Securities shall be excha~ol~or l'tl an Event of Default (as

respect to suehsecuntIes.                     © ·-. _,
defined in the terrns and conditions of such Sec~ tiesl has occurred and is continuing with
                         ••
                                              .
                                                     I    \)




     Unless the definitive registered global Se.curitY is presented by an authorized
representative of the U.S. Depositary to the lssuer or its agent for registration of transfer,
exchange or payment, and any certificate Issued is registered in the name of a nominee of
the U.S. Depositary and any payment is made to such nominee, any transfer, pledge or
other use of the definitive registered global Security for value or otherwise shall be wrongful
since the registered owner of the definitive registered global Security, the nomi!'ee ot the
U.S. Depositary. has an interest In the definitive registered global Security.

     If the beneficial owners of interests in a definitive registered global Security are entitled
to exchange Interests for definitive registered Securities of such Series of another
authorized form, as provided in the second preceding paragraph, then without unnecessary
delay but in any event not later than the earliest date on which such interests may be so
exchanged the Issuer shall deliver to the Fiscal Agent definitive registered Securities in
aggregate principal or face amount equal to the principal or face amount of such definitive
registered global Security executed by the Issuer. On or after the earliest date on which
such interests may be so exchanged, such definitive registered global Security shall be
surrendered by the U.S. Depositary to the Fiscal Agent, as the Issuer's agent for such
purpose, to be exchanged, in whole or from time to time In part, for definitive registered
Securities without charge and the Fiscal Agent shall authenticate and deliver. in exchange
for each portion of such definitive registered global Security. an equal aggregate principal
amount of definitive registered Securities of the sarne Series ot authorized denominations
and of like tenor as the portion of such definitive registered global Security to be
exchanged; groyided. however, that no such exchanges may occur during a period



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beginning at the opening of business 15 days before any selection of Securities of such
Series and like tenor to be redeemed and ending on the relevant date of redemption. Any
definitive registered global Security that is exchangeable pursuant to this Section 5(c) shall
be exchangeab le for definitive registered Securities issuable in the denominati ons specified
in the applicable Authorizati on and registered in such names as the U.S. Depositary that ls
the holder of such definitive registered global Security shalt direct. If a definitive registered
SectJritY is issued in exchange for any portion of a definitive registered global Securitv after
the close of business at the office or agency where such exchange occurs on any record
date and before the opening of business at such office or agency on the relevant interest
payment date, interest will not be payable on such interesijpy~nt date in respect of such
definitive registered Security, but will be payable on s~~· res\ payment date only to the
person to whom interest in respect of such portiop-ot ·su.¢' finiiive registered global
Security is payable,                           (r,, ~ 0           .


     The U.S. Depositary may grant proxies e~      therwise authorize any person, including
Agent Members and persons that may hold interests through Agent Members. to take any
action which a holder is entitled to take under this· Fiscal Agency Agreement or the
Securities.

    (d) Definjtjye Baarer Global securities. This Section S(cJ shall apply only to definitive
bearer global Securities delivered to a Common Depositary for EUROCLEAR or CEDEL
pursuant to Section 1 (f)(ii), unless otherwise provided in an Authorizatio n.

     If the beneficial owners of interests in a definitive bearer global Security are entitled to
exchange such interests for definitive bearer Securities or definitive registered Securities of
such Series, as provided in the Authorizatio n, then without unnecessary delay but In any
event not later· than the fifteenth day prior to the earliest date on which such interests may
be so exchanged the Issuer shall deliver to the Fiscal Agent definitive bearer Securities
and/or definitive registered Securities in aggregate principal amouni equal to the principal
amount of such definitive bearer global Security. On or after the earliest date (If anvl on
which such Interests may be so exchanged, such definitive bearer global Security shall be
surrendered by the Common Depositary to the Fiscal Agent outside the United States, as
the Issuer's agent for such purpose, to be exchanged, in whole or from time to time In part,
for definitive bearer Securities and/or definitive registered Securities without charge and the
Fiscal Agent shall authenticat e and deliver, in exchange for each portion of such definitive
bearer global Securitv, an equal aggregate principal amount of definitive bearer Securities
and/or definitive registered Securities of the same Series of authorized denominati ons and of
like tenor as the portion of such definitive bearer global Security In such combination
thereof as shall be specified by the beneficial owner thereof and communica ted to the Fiscal
Agent through EUROCLEAR or CEDEL, and, if in registered form, registered in such name as
may be specified by the beneficial owner thereof and so communica ted to the Fiscal Agent;
provided. however, that no such exchanges may occur during a period beginning at the
 opening of business 15 days before any selection of Securities of that Series and like tenor
 to be redeemed and ending on the relevant date of redemption ; and provided. funhec. that
 no definitive bearer Security delivered in exchange for a portion of a definitive bearer global
 Security shall be mailed or otherwise delivered to any location in the United States. If a
 definitive registered Security is issued in exchange for any portion of a definitive bearer
 global Security after the close of business at the office or agency where such exchange
 occurs on any record date and before the opening of business at such office or agency on
 the relevant interest payment date, interest will not be payable on such Interest payment



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date in respect of such registered Security, but will be payable on such Interest payment
date only to the person to whom interest in respect of such portion of such definitive bearer
global Security is payable.

     So long as the Common Depositary is the registered owner of a definitive bearer global
Security, such Common Depositary, as the case may be, will be considered the sole owner
or holder of the Securities represented by such definitive bearer global Security for the
purposes of receiving paymerit on the Securities, receiving notices and for all other
purposes under thl s Agreement and the definitive bearer global Security. The Common
Depositary may grant proxies and otherwise authorize any person, including EUROCLEAR
and CEoa and beneficial owners of the Securities, to take any action which a holder is
entitled to take under this Fiscal Agency Agreement or the 'Securities. Beneficial Interests in
a definitive bearer global Security will be evidenced o~~. &{'d transfers thereof will be
effected only through, records maintained by EUROC"~a nd>CEOEL .

     6.   Beaium:.                           ©<CJ\)
        The Fiscal Agent, as agent of the Issuer for this purpose, shalt maintain at its corporate
 trust office In The City of New York, a register for each Series of Securities issued In whole
 or in pan In registered form for the registration of Securities of such Series and the
 registration of transfers and .exchanges thereof. Upon presentatio n for the purpose of
 registration or transfer or exchange at the said office of the Fiscal Agent of any registered
  Security of such Series, accompanie d by a written instrument of transfer or exchange in the
  form approved by the Issuer and the Fiscal Agent flt being understood that, until notice to
  the contrary is given to holders of Securities of a Series, the Issuer and the Fiscal Agent
  shall each be deemed to have approved the form of Instrument of transfer, if any, printed
  on any definitive registered Security of such Series). executed by the registered holder, in
  person or by such holder's attorney thereunto duly authorized in writing, such Security shall
  be transferred upon the register for the Securities of such Series, and a new registered
  Security of such Series and of like tenor shall be authenticat ed and issued in the name of
  the transferee; provided, however, that registered Securities may be delivered for the
· purpose of registration of transfer by mail at the risk and expense of the transferor.
  Transfers and exchanges of Securities of a Series shall be subject to such restrictions as
  shall be set forth in the text of the Securities of suc:h Series and such reasonable regulations
   as may be prescribed by the Issuer. Successive registration s and registration s of transfers
   as aforesaid may be made from time to time as desired, and each such registration shall be
   noted on the Se~urity register. No service charge shall be made for any registration , regis-
   tration of transfer or exchange of the Securities of a Series unless otherwise provided by
   the provisions of the Securities of such Series, but, except as otherwise provided herein
   with respect ~o the exchange of temporary securities for definitive securities, the Fiscal
   Agent (and any Transfer Agent or authenticat ing agent appointed pursuant to Section 2 or
   3 hereof. respectively ) may require payment of a sum sufficient to cover any stamp or other
   tax or governmen tal charge In connection therewith and any other amounts required to be
   paid by the provisions of the Securities of such Series. ·

      Any Transfer Agent appointed pursuant to Section 2 hereof shall provide to the Fiscal
 Agent such information as the Fiscal Agent may reasonably require in connection with the
 delivery by such Transfer Agent of Securities in exchange for other Securities.




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                                                                            make registrations
     Neither the Fiscal Agent nor any Transfe r Agent shall be required to
                                                                      set forth in the text of
of transfe r or exchange of Securities of a Series during any periods
                                                                      prohibi ted.
the Securities of such Series in which such transfe r or exchange is

     7.   s;nkjnq Fund ood Oot;onaf Redemption.
                                                                                         ter the sinking fund
      The Issuer hereby authori zes and directs the Fiscal Agent to adminis
                                                 having  a  mandat      ory sinking     fund  or similar
with respect to the Securit ies of any Series
                                                 set forth  in   the  text  of the    Securit  ies of such
provisio n in accorda nce with the provisio ns
                                                    Securit ies   of  a  Series  permit     the  Issuer to
Series. In the event that the provisio ns of the
                                                                   shall,  unless    otherw   ise  provided in
redeam Securit ies of such Series at its option, the Issuer
                                                             notice     to the  Fiscal    Agent    of the
the text of the Securit ies of such Series. give written
                                                                         ed  not  less   than   60  days  prior
principal amoun t of Securit ies of such Series to be so redeem
                                                               than     15  days   prior   to the  date  on
to the optiona l redemp tion date and, if earlier, no later
                                                                                such Series pursua nt to
which notice is require d to be given to holders of the Securities of
                                                                    accepta   ble   to the Fiscal Agent).
the followin g senten ce (or such shorter period as may be
                                                                                   In  the name and at the
All notices of redemp tion of the Securities of a Series shall be made
                                                                                         ns applicable
 expense of the Issuer and shall be given in accorda nce with the provisio
                                                                                          ies of such Series.
thereto set forth in the Authori zation relating to or the text of the Securit
                                                                                the text of the Securities
 In the event that the provisio ns set forth in the Authori zation or in
                                                                                     upon the occurre nce
 of a Series permit the Issuer to redeem Securit ies of such Series only
                                                                                 to the giving of notice of
 or satisfac tion of a conditi on or conditio ns preced ent thereto , prior
                                                                                 to the Fiscal Agent a
 redemp tion of the Securit ies of such Serles, the Issuer shall deliver
                                         stating that the  Issuer    is  entitled   tp effect such redemp-
 certific ate of an Authori zed Official
                                                                                      g that auch conditio n
 tion and setting forth in reasonable detail a statem ent of facts showin
                                                                                     that the provisio ns of
 or conditio ns preced ent have occurred or been satisfie d. In the event
 the Securit ies of a Series permit the holders thereof , at their option,
                                                                                    to cause the Issuer to
                                                          plated     by   Section    4 hereof, arrange with
  redeem such Securit ies, the Issuer shall, as contem
                                                   the  purp'bse   . if applicab   le)  for the provision of
  the Fiscal Agent (and each Paying Agent for
  funds sufficie nt to make paymen ts to such holde            r   'pect   of such    redemp    tions. and the
  Fiscal Agent shall provide to the Issuer from        ~      i~reas     onably      detailed   informa  tion as
  to such redemp tions.                         ~
                           .
                                                      V
                                            ,         -'
       Whene ver less than all the Secur~        o a Series at any time outstan ding are to be
                                                                               Series to be
 redeemed at the option of the Issuer, tJie particu lar Securities of such
                                                                                tion date by the
 redeemed shall be selecte d not more than 60 days prior to the redemp
                                                                        previou   sly called for
 Fiscal Agent from the Outstan ding Securit ies of such Series not
                                                                            ally  by lot (unless all
 redemp tion, in the case of bearer Securit ies of such Series, individu
                                                                              register ed Securities of
 bearer Securit ies are subject to such redemp tion) and. in the case of
                                                                           fair and approp riate,
 such Series. by such usual method as the Fiscal Agent shall deem
                                                                               s of the principal
  which method may provide for the selectio n for redemp tion of portion
                                                                            nations of which, if any.
 amoun t of register ed Securit ies of such Series the minimu m denomi
                                                                                         redemp tion of
  will be specifie d in the text of the Securit ies of such Series. Upon any partial
                                                                             and deliver in exchange
  a register ed Securit y of a Series, the Fiscal Agent shall authent icate
                                                    such Series, of any  authoriz   ed denomi nation
  therefo r one or more registe red Securities of
                                                                    te principa  l amoun   t equal to the
  and like tenor as reques ted by the holder thereof , in aggrega
  unredeemed portion of the principa l of such Securit    y.




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    a. conditions of fiscal Agant's ObHgstjons.
    The Fiscal Agent accepts its obligation s set forth in this Agreement upon the terms and
condition s hereof, including the following , to all of which the Issuer agrees and to all of
which the rights of holders from time to time of Securities a,e subject:

    (al Comoensatjon and Indemnltv. The Fiscal Agent shall be entitled to compensation
        as agreed In writing with the Issuer for alt services rendered by it, and the Issuer
            egrees promptly to pay such compens ation and to reimburse the Fiscal Agent for
            the out-of-po cket expenses (Including counsel fees) reasonably incurred by It in
            connectio n with its services hereunde r after receipt of an itemized statemen t
            detailing such expenses. The Issuer also agrees to indemnify the Fiscal Agent for.
            and to hold it harmless against. any loss, damage, claim, liability or expense.
            including the reasonable and documen ted fees and expenses of counsel. incurred
            without gross negligence or bad faith, arising OUN>f or In connectio n with its
            acting as Fiscal Agent hereunder. as well as ~hreasonable and documen ted costs
            and eXl)enses of defending against anv cfaim         iab~ty in the premises. The
            obligation s of the Issuer under this Section 8(a) hall survive payment of all the
            Securities or the resignation or. r    J.i1 of the Fiscal Agent.
                                                    ~


     (bl    Agency.    In acting under this Agr~eme nt and in connectio n with the Securities. the
            Fiscal Agent is acting solely as agent of the Issuer and does not assume any
            responsib ility for the correctne ss of the recitals in the Securities {except for the
            correctne ss of the statemen t in Its certificate of authentic ation thereon) or any
            obligation or relationship of agency or trust, for or with any of the owners or
            holders of the Securities or coupons, except that all funds held by the Fiscal Agent
            for the payment of principal of (and p·r emium, if any) and any interest on the
            Securities shall be held in trust for such owners or holders, as the case may be. es
            set forth herein and in the Securities; provided. however. thet monies held in
            respect of the Securities of a Series remaining unclaimed at the end of two years
             after the principal of all the Securities of such Series (and premium. If any) or such
             interest. as the case may be, shall have become due and payable !whether at
             maturiry or otherwise ) end monies sufficient therefor shall have been duly made
             evallable for payment shall, together with any interes, made available for payment
             thereon, be repaid to the Issuer, as provided and in the manner set forth in the
             Securities of such Series. Upon such repaymen t. the aforesaid trust with respect
             to the Securities of such Series shall terminate and all liability of the Fiscal Agent
              and Paying Agents with respect to such funds shall thereupon cease.

      fc)    Advice of Counsel. The Fiscal Agent and any Paying Agent or. Transfer Agent
             appointed by the Issuer pursuant to Section 2 hereof may consult with their
             respectiv e counsel or other counsel satisfacto ry to them. and the written opinion
             of such counsel shall be full and complete authorization and protection in respect
             of anv action taken or suffered by them hereunder in good faith and without gross
             negligenc e and in accordan ce with such opinion.

      Id,    Reliance.    The Fiscal Agent and any Paying Agent or Transfer Agent appointed by
             the Issuer pursuant to Section 2 hereof each shall be protected and shall incur no
             liability for or in respect of any action taken or thing suffered by it In reliance upon
             any Security or coupon, Authoriza tion, notice, direction, consent, certificate ,



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          affidav it, statem ent, or other paper or docum ent believed by
                                                                          it. in good faith and
                                                    to have been  passed or  signed by the
          withou t negligence, to be genuine and
          proper parties .

   (e)    lnten,u in Securities, etc, The Rscal Agent . any Paying Agent or Transf er Agent
                                                                                respective officer s,
          appoin ted by the Issuer pursua nt to Sectio n 2 hereof and their
                                                                                 any interes t In,
          directors and employees may become the owner s of, or acquire
                                                                           would  have if they were
          any Securities or coupo ns, with the same rights that they
                                                                            or such   other person,
          not the Fiscal Agent , such Paying Agent or Transf er Agent
                                                                          transa ction  with the
          and may engage or b9 imeres ted in any financ ial or other
                                                                               s of  Securi ties or
          Issuer, and may act as depos itary, trustee or agent for, holder
                                                                                       not the  Fiscal
          coupo ns or other obliga tions of the Issuer , as freely as if they
                                                                               were
                                                                                    .
          Agent , such Paying Agent or Transf er Agent or such qther person
                                                                                       ent, and
   (f)    fipn-Uabjffty for Interest. Excep t as expressly provided for in this Agreem       ry,
                                                                           Agent to the contra
          subjec t to env agreem ent betwe en the Issuer and the Fiscal
                                               any liabilit y for ipt• t .on monie s at any time
          the Fiscal Agent shall not be under
          received by it pursua nt to any of the provis ions   oflhl ~gr~    ent or of the
          Securi ties.                                   ~       .,

          Certifications. Whene ver in the admlni~t'i'o n of this Agreement the Fiscal shed
                                                                                        Agent
   (g)
                                                       matter of fact be proved or establi
           shaN deem it necess ary or desirable that,a
                                                                                 Fiscal Agent (unless
           prior to taking , sufferi ng or omittin g any action hereunder, the
                                                                 may,  in the absenc  e of bad faith
           other eviden ce be herein specifi cally prescribed)
                                                                   ate signed  by  any  person
           or gross neglige nce on its pert, rely upon a certific
                                                                           ed to the Fiscal Agent as
           author ized by or pursua nt to an Author ization and deliver
           to such matter of fact.
                                                                                   shell be
    (h)    No lrnPlied ObHgatjgns. The duties and obliga tions of the Fiscal Agent
                                                                               the Fiscal
                                                                               and
           determ ined sotely by the express provis ions of this Agreement,
                                                                            duties and obligations
           Agent shall not be liable excep t for the perform ance of such
                                                                             covena nts or
           as are specifi cally set forth in this Agreem ent, and no implied
                                                                              Agent: Nothin g in
           obligat ions shall be read into this Agreem ent against the Fiscal
                                                                             to advance or
           this Agree ment shall be constr ued to require the Fiscal Agent
                                                                                may not refuse or
           expen d its own funds; Q[Ovjded. howevec, that the Fiscal Agent
                                                                              nonpa yment by the
           fail to perform any of its duties hereunder solely as a result of
           Issuer of the Fiscal Agent 's fees.

     s. Resjgnetjon and Appointment of successor.
                                                                      the benefi t of the holders
     (a) Fi~cal Agent and Paying Agent. The Issuer agrees, for
                                                                        all times be a Fi,cal Agent
from time to time of the Securi ties of a Series, that there   shall at
                                                              zed and   doing  business under the
hereunder which shall be a bank or trust compa ny organi
                                                                      in good   standing and
laws of the United States of Americ a or the State of New York,
                                                                 York,  and   author ized under such
having an establi shed place of business In The City of New
                                                                 required by the   provisi ons of
 laws to exercise corpor ate trust powers, and, to the extent
                                                                   permit ted by the provisions of
bearer Securities of such Series, if any, unless payme nts are
                                                                     United States, a Paying Agent
 the fourth paragraph of Sectio n 4(a) hereof to be made in the
                                                                        m, if any) and any interes t
 outsid e the United States for payme nt of principal of (and premiu
                                                                      authenticated and delivered
 on such bearer Securi ties, until all the Securi ties of such Series



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                                                     l Agent for cancellation or (ii) become
hereunder (I) shall have been delivered to the Fisca
                                                the principal of (and premium, if any) and any
due and payable and monies suffic ient to pay
                                                      been made available for payment and
interest on the Securities of such Series shall have
                                                  herein and in such Securities.
either paid or returned to the Issuer as provided
                                                           t may at any time resign by giving
     (bt Bosjqnatjon and BemovaJ. The Fiscal Agen
                                                      its part, specifying the date on whic h its
writte n notic e to the Issuer of such inten tion on
                                                      ded that such date shall not be less than
dssired resignation shall become effec tive, provi
                                                     given , unless the Issuer agrees to accept
60 days from the date on whic h such notic e is
                                                      be removed at any time by the filing with it
shorter notic e. The Fiscal Agen t hereunder may
                                                    the Issuer and specifying such removal and
of en instru ment in writin g signed on behalf of
                                                   ithstanding the dates of effectiveness of
the date when It shall become effec tive. Notw
                                                     be specified in accordance with the
resignation or remo\fal, as the case may be, to
                                                    val shall take effec t only upon the appoint-
preceding sentences, such resignation or remo
                                                     a successor Fiscal Agen t (which, to qualify
ment by the Issuer, as hereinafter provided. of
                                                          or trust company organized and doing
as such, shall for all purposes hereunder be a bank
                                                       America or of the State of New York, in
 business under the laws of the Unite d States of
                                                   an established place of business in The City
 good standing and having and acting throu gh
                                                    to exercise corporate trust powerst and the
 of New York , and authorized under such laws
                                                      ssor Fiscal Agent. Upon its resignation or
 acceptance of such appo intme nt by such succe
                                                          ent by the Issuer pursuant to Section 8
 removal, the Fiscal Agen t shall be entitl ed to paym
                                                    and reimbursement of out-o f-poc ket expenses
 hereof of compensation for services rendered
                                                      stat eme it  ~ilin g such expenses. If no
 incurred hereunder after recei pt of an itemized
                                                         pted       ~oin tme nt withi n 90 days of
 successor Fiscal Agen t is appointed and has acce
                                                       r ,peffi·     ~Jur t of proper jurisdiction to
 such resignation or removal. the Fiscal Agen t may
 appoint a successor Fiscal Agen t.                          0
                                                . r?.~
                                                                        t or any Paying Agent in respect
       Cc) Successors. In case at any time th@.:f,scal Agen
                                                            t is the only Paying Agent located in a
 of the Securities of a Series (if such Paying Agen
                                                        such Series or this Agreement. the Issuer is
 place wher e, by the term s of the Securities of
                                                         n, or shall be removed, or shall become
 required to maintain a Paying Agent) shall resig
                                                      rupt or insolvent, or shall file a volun tary
 incapable of actin g, or shall be adjudged bank
                                                        for the benefit of its creditors or consent to
 petit ion in bank ruptc y or make an assignment
                                                          tantial part of its property, or shall admi t in
 the appointment of a receiver of all or any subs
                                                         they severally mature, or if a receiver of It or
  writin g its inability to pay or meet its debts as
                                                            be appointed, or if an order of any court
  of all or any substantial part of its prop erty shall
                                                          or against it under the provisions of
  shall be entered approving any petiti on filed by
                                                       y,.reorganization or other similar legislation, or
  applicable receivership, bank ruptc y, insolvenc
                                                               , or If any public office r shall take charge
  If a receiver of it or its prop erty shall be appointed
                                                         the purpose of rehabilitation, conservation or
  or contr ol of it or of its prop erty or affairs. tor
                                                          Agent, as the case may be, qualified as
  liquidation, a successor Fiscal Agen t or Paying
                                                        an instrument in writin g, filed with the
  aforesaid, shall be appo inted by the Issuer by
                                                           case may be, and the predecessor Fiscal
  successor Fiscal Agen t or Paying Agen t, as the
                                                                 the.appointment as aforesaid of a
   Agen t or Paying Agen t, as the case may be. Upon
                                                           case may be, end acceptance by such
   successor Fiscal Agen t or Paying Agen t, as the
                                                            t or Paying Agen t, as the case may be, so
   successor t>f such app0 intme nt, the Fiscal Agen
                                                               g Agent, as the case may be, hereunder.
   succeeded shall cease to be Fiscal Agen t or Pavin
   If no successor Fiscal Agen t or othe r Paying
                                                      Agent, as the case may be, shall have been so
                                                              appointment as hereinafter provided, and,
   appointed by the Issuer and shall have accepted
                                                            other Paying Agen t is the only Paying Agen t
   in the case of such othe r Paying Agen t, if such


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                                                                                  this Agreement, the
located In a place where, by the terms of the Securities of a Series or
                                                                                       y who has been a
Issuer is required to mainta in a Paying Agent, then any holder of a Securit
                                                                                  in the case of such
bona fide holder of a Securit y for at least six months Cwhich Security,
                                                                                         of himself and all
other Paying Agent. is of the Series referred to in this sentence), on behalf
others similarly situate d, or the Fiscal Agent mav petition any court of
                                                                                   competent
jurisdic tion for the appointment of a successor agent; prpvided that the
                                                                                    Issuer may, but
shall not be required to, appear   in any  proceed   ing   with respect   to such   petition  : and
                                                  not   to  appear  in  such  proceed   ing, such   election
proyjded. further, that (I) If the Issuer elects
                                                                                                        the
                                          of its right   to contes  t in any  forum   by  any   means
 shall constitu te an irrevocable waiver
                                              and       if the Issuer   etects to  appear   in  any such
determ inations made in such proceeding            (ii)
                                                                                    the Issuer may have
 proceeding, such appearance shall not constit ute a waiver of immun itv
                                                     any   cross-c laim,   counter claim.   action, lawsuit
 or a submission to jurisdic tion for purposes of
                                                                           other Paying   Agent    of the
 or process. The Issuer shell give prompt written       notice  to each
 appoin tment of a successor Fiscal Agent.                               ·

                                                                                   er shall execute.
     (d) Acknowledgment. Any successor Fiscal Agent appointed hereund
                                                                  an instrum   ent  accepting such
acknow ledge and deliver to its predecessor and to the Issuer
                                                          Fiscal   Agent,  withou   t any further
appoin tment hereunder, and thereupon such successor
                                                               authori ty, rights,  powers    , trusts,
act, deed or conveyance, shall become vested with all the
                                                                             as  if original ly  named
Immunities, duties and obligat ions of such predecessor with like effect
                                                                              compen   sation    and
as Fiscal Agent hereunder, and such predecessor, upon paymen t of its
reimbursement of its disbursements then unpaid, shall there~f               pn'
                                                                       become obligate    d   to
                                 and such succes sor         A
                                                     Fisc~&::- 'ii'~ sh~II be entitled to receive,

                                                        ©V
transfe r, deliver and pay over,
                                                                              or held by such
all monies, securities, books, records or other propert y on deposit with
predecessor as Fiscal Agent hereunder.        ·

                                                                                               hereunder
      (et Merger. ConsoHdetjon. etc. Anv corpQ.ration into which the Fiscal Agent
                                                                                    dation to which the
 may be merged, or any corporation resulting from any merger or consoli
                                                                                       shall sell or
 Fiscal Agent shall be a party, or anv corporation to which the Fiscal Agent
                                                    assets   and  busines s of the Fiscal  Agent,
 otherw ise transfe r all or substantially all the
                                                   id, shall  be the succes  sor Fiscal Agent  under this
 provide d that it shall be qualifie d as aforesa
                                                     any paper    or any funher   act on  the pan   of any
 Agreem ent withou t the executi on or filing of
 of the parties hereto.
                                                                                         for the
      ffl Separate Fiscal Agents. The Issuer may appoint a separate fiscal agent
                                                                  Agent  or any  other fiscal agent
 Securities of any Series in addition to or In lieu of the Fiscal
                                                                   Series. Any  such  separat e
 which is acting as such agent for the Securities of any other
                                                                  doing busines  s under  the laws
 fiscal agent shall be a bank or trust company organized and
                                                                      good  standin g  and  having
 o1 the United States of Americ a or of the State of New York, in
                                                                               York, and
 and acting through an established piece of business in The City of New-.
                                                                           separate fiscal agent
 authorized under such laws to exercise corporate trust powers. Any
                                                                            agent shall agree to
 shall enter into an agreement with the Issuer under which such fiscal
                                                                           er.
  act on substan tially the terms applicable to the Fiscal Agent hereund

        1o. PaymenLQf Taxes.
                                                                                      be imposed by
       The Issuer will pay all stamp taxes and other duties, if any, which may
  the Republic of Venezuela, the United States of     Americ a or  anv politica l subdivis  ion thereof
                                                              this  Agreem  ent   or the  issuanc e of
  or taxing authori ty of or In the foregoing with respect to
  the Securities.



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     11.   Meetings and Amendments.
      la) Calljng of Meetjoa, Notice and Quorum. A meeting of holders of Securities of a
Series may be called at any time and from time to time to make. give or take any request,
demand, authorization, direction, notice, consent, waiver or other action provided by this
Agreement or the Securities of such Series to be made, given or taken by holders of Securi·
ties of such Series or to modify, amend or supplement the terms of the Securities of such
Series or this Agreement as hereinafter provided. The Issuer may at any time call a meeting
of holders of Securities of any Series for any such purpose to be held at such time and at
such place as the Issuer shall determine. Notice of every meeting of holders of Securities of
any Series. saning forth the time and the place of such meeting and In general terms the
action proposed to be taken at such meeting, shall be given as provided in the terms of the
Securities of such Series, not less than 30 nor more than 60 days prior to the date fixed for
the meeting (provided that, In the case of any meeting to be reconvened after adjournment
for lack of a quorum, such notice shall be so given not less than 10 nor more than 60 days
prior to the date fixed for such meeting). In case at any time the Issuer or the holders of at
least 10% in aggregate principal amount of the Outstanding Securities (as defined in
subsection (d) of this Section 11) of a Series shall, after the occurrence and during the

                                                              Sai
continuance of any default under the Securities of such Series, hcl'(_e requested the Fiscal
Agent to call a meeting of the holders of Securities of such          fQ[ any purpose specified
in the first sentence of this Section 11 (a), by written request)   ing';forth in reasonable
detail the action proposed to be taken at such meeting-;-the .Fisca Agent shall call such
meeting for such purposes by giving notice there© ~           '--'

     To be entitled to vote at any meeting of holders of Securities of any Series, a person
shall be a holder of Outstanding Securities of such Series or a person duly appointed by an
instrument in writing as proxy for such a holder. The persons entitled to vote a majority in
principal amount of the Outstanding Securities of such Series shall constitute a quorum. In
the absence of a quorum within 30 minutes of the time appointed tor any such meeting, the
meeting shall, If convened at the request of the holders, be dissolved. In any other case, the
meeting may be adjourned for a period of not less than 10 days as determined by the
chairman of the meeting prior to the adjournment of such meeting. tn the absence of a
quorum at any such adjourned meeting, such adjourned meeting may be further adjourned
for a period of not less than 10 days as determined by the chairman of the meeting prior to
the adjournment of such adjourned meeting. Notice of the reconvening of any adjourned
meeting shall be given as provided in the preceding paragraph of this subsection (al, except
that such notice need be given only once. Notice of reconvening of an adjourned meeting
shall state expressly the percentage of the principal amount of the Outstanding Securities
which shall constitute a quorum. Subject to the foregoing, at the reconvening of any
meeting adjourned for a lack of a quorum, the persons entitled to vote 25% in principal
amount of the Outstandir,g Securities of any Series shall constitute a quorum for the taking
of any action set forth in the notice of the original meeting. Any meeting of holders of
Securities of such Series at which a quorum is present may be adjourned from time to time
 by vote of a majority in principal amount of the Outstanding Securities represented at the
meeting, and the meeting may be held as so adjourned without further notice.

    The Fiscal Agent may make such reasonable and customary regulations consistent
herewith as it shall deem advisable for any meeting of holders of Securities of such Series
with respect to the proof of the holding of Securities, the adjournment and chairmanship of
such meeting. the appointment of proxies in respect of holders of Securities of such Serias,



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the record date for determining the registered holders of Securities of such Series who are
entitled to vote at such meeting (which date shall be designated by the Rscal Agent and set
forth in the nodce calling such meeting hereinabove referred to and which shall be not le$S
than 15 nor more than 60 days prior to such meeting (provided that nothing in this
paragraph shall be conStrued to render ineffective any action taken by holders of the
requisite principal amount of Outstanding Securities of such Series on the dote such action
is taken), the appointment and duties of inspectors of votes, the submission and examina-
tion of proxies, C9rtificates and other evidence of the right to vote, and such other matters
concerning the conduct of the meeting as it shall deem appropriate. The Fiscal Agent shall,
bv an instrument in writing, appoint a temporary chairman of the meeting, unless the
meeting shall have been called bv the Issuer or the holders of Securities of such Series as
provided above, in which case the Issuer or the holders of Securities of such Series calling
the meeting, as the case may be, shall in like manner appoint a temporary chairman. A
permanent chairman and a permanent secretary of the meeting shall be elected by vote of
the persons entitled to vote a majority In principal amount of the Outstanding Securities
represented and voting at the meeting. The chairr,ian of the meeti~g shaH have no right to
vote, except as holder of Securities of such Series or proxv-Mcord, at least in duplicate,
of the proceeding of each meeting of holders shall be,,,Rreparyt~and~ne such copy shall be

                                                (( nv·.,t
delivered to the Issuer and another to the Fiscal ~ent to be preserved by the·Fiscal Agent.

     (b) Approval- (i1 At anv meeting of holders~ .-securities of anv Series duly called and
held as specified above, upon the affirmative vote, in person or by proxy thereunto duly
authorized in writing, of the lesser of (X) a majority in principal amount of the Outstanding
Securities of such Series or (Y) the holders of not less than 66 2/3% in aggregate principal
amount of the Securities of such Series then Outstanding represented at such meeting (or
of such other percentage as may be set forth in the text of the Securities of such Series
with respect to the action being takent, or (ii) with the written consent of the owners of not
less than a majority in aggregate principal amount of the Securities of any Series then Out-
standing tor of such other percentage as may be set forth in the text of the Securities of
such Series with respect to the action being taken), the Issuer and the Fiscal Agent {and, in
the case of the Banco Central Undertaking, with the agreement of Banco Central), upon
agreement between themselves, may modify, amend or supplement the terms of the
Securities of such Series or, insofar as respects the Securities of such Series, this
Agreement or the Banco Central Undertaking, in any way, and the holders of Securities of
such Series may make, take or give any request, demand, authorization, direction, notice,
consent, waiver or other action provided by this Agreement or the Securities of such Series
to be made, given or taken by holders of Securities of such Series; provided, however, that
no such action may, without the consent or affirmative vote of the holder of each Security
of such Series affected thereby, fA) change the due date for the payment of the principal of
(or premium, if any) or any installment of interest on any Security of such Series, (B) reduce
the principal amount of anv Security of such Series, the portion of such principal amount
which is payable upon acceleration of the maturity of such Security, the interest rate
thereon·or the premium payable upon redemption thereof, (C) change the coin or currency
In which payment with respect to interest, premium or principal in respect of Securities of
such Series is payable, (DI reduce the proportion of the principal amount of Securities of
such Series the vote or consent of the holders of which is necessary to modify, amend or
supplement this Agreement, the Banco Central Undertaking or the terms and conditions of
the Securities of such Series or to make, take or give any request, demand, authorization,
direction, notice, consent, waiver or other action provided hereby or thereby to be made,
taken or given, or (El change the obligation of the Issuer to pay Additional Amounts, if any,



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pursuant to the Securities of suc:h Series. Any suc:h modification, amendment or supplement
shall be binding on the holders of Securities of such Series. The Issuer and the Fiscal Agent
(and. in the case of the Banco Central Undertaking, with the agreement of Banco Central),
upon agreement between themselves, without the vote or consent of any holder of
Securities, may modify, amend or supplement this Agreement or the Securities of a Series
for the purpose of CA) adding to the covenants of the Issuer for the benefit of the holders of
the Securities of such Serles, (B) surrendering any right or power conferred upon the Issuer,
(C) securing the Securities of such Series pursuant to the requirements of such Securities or
otherwise, (DI curing any ambiguity, or curing, correcting or supplementing any defective
provision thereof or IE) amending this Ag(eement, the B~n     0lentral Undenaking or the
Securities of such Series In any manner which the lssu        d t Fiscal Agent may
determine and shall not adversely affect the interest<bf)n     olr of Securities of such
Series in any material respect.                   (     0
                                              (?_>0
     It shall not be necessary for the vote·or \huJ1ent of the holders of Securities of a Series
to approve the particular form of any proposed modification, amendment, supplement,
request, demand, authorization, direction, notice, consent. waiver or other action, but it
shall be sufficient if such vote or consent shall approve the substance thereof.

     (cl Binding Nature of Amendments. Notices, Notatjons, etc, Any Instrument given by
or on behalf of any holder of a Security of a Series in connection with any consent to or
vote for any such modification, amendment, supplement, request, demand, authorization,
direction, notice, consent, waiver or other action will be irrevocable once given and will be
conclusive and binding on all subsequent holders of such Security or any SecuritY Issued
directly or Indirectly in exchange or substitution therefor or in lieu thereof. Any such
modification. amendment, supplement, request, demand, authorization, direction, noti~e,
coi,sent, waiver or other action will be conclusive and binding on all holders of Securities of
such Series. whether or not they have given such consent or cast such vote or were
present at any meeting, and whether or not notation of such modification. amendment,
supplement, request, demand, authorization, direction, notice, consent, waiver or other
action is made upon the Securities of such Series. Notice of any modification or amendment
of, supplement to, or request, demand, authorization, direction, notice, consent, waiver or
other action with respect to the Securities of a Series or this Agreement (other than for
purposes of curing any ambiguity or of curing, correcting or supplementing any' defective
provision hereof or thereof) shatl be given to each holder of Securities affected thereby and
then Outstanding, in all cases as provided In Securities of such Series.

     Securities of a Series authenticated and delivered after the effectiveness of any such
modification, amendment, supplement, request, demand, authorization, direction, notice,
consent, waiver or other action may bear a notation in the form approved by the Fiscal
Agent and the Issuer as to any matter provided for in such modification, amendment.
supplement, request, demand, authorization, direction, notice, consent. waiver or other
action taken, mede or given in accordance with Section 11 (b) hereof. New Securities of
such Series modified to conform, in the opinion of the Fiscal Agent and the Issuer, to any
such modification, amendment, supplement, request, demand, authorization, direction,
notice, consent, waiver or other action may be prepared by the Issuer, authenticated by the
Fiscal Agent (or any authenticating agent appointed pursuant to Section 3 hereof) and
delivered in exchange for Outstanding Securities of such Series.




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r.c :   -=
                                                                                                                                  Securities, an y
                                                                                                     Ag re em en t and the
                                                               For pu rp os es of th is
                    fd)    •Outstanding• Defined.               ed    pu   rs   ua  nt  to th is Ag re em en t sh
                                                                                                                         all, as of an y da te of
                                                         liv er
                                                                               din g" , except:
                                        ted an d      de
             Se cu rl au the nti ca
                               n, be  de  em ed to be •O uts tan
             de tt~(na tio
                                                                                                                           de liv er ed to th e F1SC81
                                                          of or   e ca    nc   ell ed   by    th e Fisc:al Ag en t or
                                 Se cu rit ies th er et                                               cal Ag en t:
                                                                  t reissued by th e Fis
                          (i)
                                   ca nc ell ati  on  an  d  no
                     Ag en t fo r                                                                                                                      ir
                                                                                                                        ac co rd an ce wi th the
                                                            ha  ve    be   an    ca   ne d fo r re de mp tio n in                       an  d   wi th
                                  Sec:urities wh ich                                                  ma tu rit y or ot he rw ise
                                                                  du e and payable at
                         (ii)
                                     ich   ha   ve   be co  me                                                      re of  lan  d pr em    ium , if an yt
                     ter ms or wh                                  cie   nt   to   pa   y  th  e principal the
                                                    nie s su   ffi
                     re sp ec t to wh ich mo                                                              ly pr ov ide d fo r; or
                                       es  t the   re on   sh alt   ha ve be en pa id or du
                     an d an y int  er
                                                                                                                                      he r Securities of
                                                                                u  of   or   in  su  bs  titu tio n fo r wh ich ot
                                   Se cu rit ies of e Serie
                                                                   s  In   lie                                                      th is Agreement:
                         fiii)                                       th   en   tic at  ed   an   d  de livered pu rsu an t to
                                                    ve be en au
                      su ch Series sh all ha
                                                                                                                                             incipal am ou nt
                                                                                    et  he   r th  e ho  lde  rs of th e re qu isi te pr
                                                    in de te nn ini ng         wh                                                rs of Se cu rit ies of
              proyided, boweyec, th aties of a Series are pr es en t at a me eti ng of holde r of an y request,
              of Ou tst an din g Se cu
                                              rit                                                                    d in fa vo
                                                              es   or    ha    ve  co ns en ted to or vo te                                 ica tio n or
              su ch Series fo r qu or
                                             um     pu rp os
                                                                                           en   t, wa  ive  r, amendment. mo dif
                                             on . dir ec tio n, no tic        e,   co  ns                                                rm s pr ov ide s fo r
               de ma nd , au tho riz ati                                        am   ou   nt   of  a Se   cu rit y wh ich by its te
                                           de r, Ii) th e pr inc ipa
                                                                             l                                                          a de cla ra tio n of
               su pp lem en t he re un                                             ou   nt   to   be  du  e and payable up on
                                            an th e sta te d fa ce
                                                                              am                                                              l Security")
               an am ou nt ot he r th                                           at  sta   te  d  ma  tu rit y Ca •v ar iab le Principa                   l
                                             ma tu rit y th er eo f or                                                     ou nt of th e principa
               ac ce ler ati on of th e                       tst  an   din    g  sh   all  be eit he r (A l th e am                        up   on
                                                 to be   Ou                                                                   mi na  tio n
                th at sh all be de em ed                                                       e da te of su ch de ter
                               at  wo  uld   be    du e  an d pa ya ble as of th                                  nt no  t in  ex ce ss of th e sta ted
                th er eo f th                                                   18  )  su  ch   ot he r am ou                                              rit y
                                             ma tu rit y    th er  eo   f  or                                                l am ou nt of a Se cu
                 ac ce ler ati on of th e                 ec  ifie  d  in   su   ch    Se   cu rit y. (ii) th e principa                       ale nt,
                                               y be sp                                                                               eq uiv
                 face am ou nt , as ma                                                               all be th e U. S. doll1,1r
                                    in  a  for  eig  n  cu rre  nc y or cu rre nc ies sh                             of  th e   pr inc ipa l am ou nt (o r, in
                 de no mi na ted                                                       e  of   su  ch Se cu rit y,                                               te
                                             da te of or igi      na l  iss    ua  nc                                          de ter mi ne d on th e da
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                                              ble Principa                                                                                d       (f)
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                                            S. AUTHORIZA                          OF TH E REPUBLIC
                                                                                                   OF
                    CONFLICTS OF LAW                BE GO VE RN ED BY TH E LA W S
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                      Fiscal Ag en t sh all be                           33  rd   St re et.  15  th Floor, Ne w Yo rk ,
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                      po sta ge pr ep aid , to                         {2 12  )  94  6- 81  78 ,  At te nt ion : Global Tr
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                       Fa cs im ile No . (2 12 )




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 International, or if sent to the Issuer shall be delivered or transmitted by hand, facsimile or
 reputable international courier, postage prepaid to it at:

     Ministerio de Hacienda de la Republica de Venezuela
     Oireccion General Sectorial de Finanzar. Publicas
     Esquina de Carmelitas
     Avenida Urdaneta
     Edifido del Ministerio de Hacienda
     Caracas, Venezuela
     Anention: Director de Credito Publlco
     Telecopier: f582) 802·1893
     Telephone: (5821 802-1887

 with   a copy to
     Banco Central de Venezuela
     Esquina de Carmelitas
     Avenida Urdaneta
     Caracas 1010
     Venezuela
     Attention: Vice President of International Operations
     Telecopier: (582) 837-373
     Telephone: (5821 801 -5352/801 -5347/801-6088


The foregoing addresses for notices or communications may be changed by written notice
given by the addressee ~o each party hereto, and the addressee's address shall be deemed
changed for all purposes from and after the giving of such notice.

    If the Fiscal Agent shall receive any notice or demand addressed to the Issuer by the
holder of a Security, the Fiscal Agent shall promptly forward such notice or demand to the
Issuer.

     Notice to holders of Securities of a Series shall be given as provided in the terms of the
Securities of such Series, proyjded. however, If the Fiscal Agent is requested to give notice
in the name and at the expense of Venezuela it shall receive notice from Venezuela at least
15 days prior to the last date for notice to the holders.

     14. Waiver of Immunity; Consent to Jurisdiction; Consent to Service;
           Proceedings in Venezuela,

      (al The Issuer agrees that any suit, action or proceeding against it or its propenies.
assets or revenues with respect to this Agreement, any Security or a coupon appertaining
thereto (a ·Related Proceeding•) shall be brought exclusively in the Supreme Court of the
State of New York, County of New York; in the United States District Court for the
Southern District of New York; in the courts of England that sit in London; or in the courts
of Venezuela that sit in Caracas, as the person bringing such Related Proceeding may elect
in its sole discretion. provided that if none of the courts specified above located in the
country in which such person has elected to bring such Related Proceeding is a coun that
has jurisdiction of the subject matter or is otherwise competent under applicable law to hear



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and determine such proceeding , such Related Proceeding may be brought in such other
court located in such country as shall have jurisdiction of the subject maner or be otherwise
competent under applicable law to hear and determine such Related Proceeding, or if such
Related Proceeding seeks relief or II judgment that is enforceable only against any of Its
properties, assets or revenues that are subject to the jurisdiction of any other court located
In the countries listed above and is limited to the value of such properties, assets or
revenues, such Related Proceeding may be brought in any such court (all such courts
described in this sentence being called herein "Specified Courts•). The Issuer also agrees
that any judgment obtained in any of the Specified Courts arising out of any Related
Proceeding may be enforced or executed in any Specified Court or any other coun of
competent jurisdiction whatsoever , and any judgment obtained in any such other court as a
result of such enforcemen t or execution may be enforced or executed in any such other
court of competent ju,isdlction Call courts other than Specified Courts being herein called
·Other Courts'"), by means of a suit on the judgment or in any other manner provided by
law. The Issuer hereby irrevocably submits to the exclusive jurisdiction of each of the
 Specified Courts for the purpose of any Related Proceeding and, solely for the purpose of
 enforcing or executing any Judgment referred to in the preceding sentence la •Related
Judgment• ), of each Specified Court and each Other Court. The Agreement made by the
 Issuer with respect to jurisdiction is made solely with respect to Related Proceedings and
 the enforceme nt or execution of Related Judgments and un~o cJ[cumSlances shall it be
 interpreted as a general agreement by the Issuer with respa~)iproceed ings unrelated to

                                                  rr.:0 -
 this Agreement , any Security or a coupon appertainin gthereto.

             lb) The Issuer agrees that service of el ~ts, process and summonses in any
 Related Proceeding or any suit, action or proceeding to enforce or execute any Related
 Judgment brought against it in the State of New York may be made upon the Consul
 General of the Republic of Venezuela or. in his or her absence or incapacity. any official of
 the Consulate of Venezuela, presently located at 7 East 51 st Street, New York, New Vork
  10022, U.S.A. ffhe •New York Process Agent•), end service of all writs. process and
 summonse s in any Related Proceeding or any suit, action or proceeding to enforce or
 execute any Related Judgment brought against it in England may be made upon the person
  in charge of consular affairs at the Embassy of the Republic of Venezuela, presently located
  at One Cromwell Road, London SW7 2HW, England (the •London Process Agent• and,
  together with the New York Process Agent, the ·Process Agents•), and the Issuer
  irrevocably appoints each Process Agent as its agent to receive such service of any and all
  such writs, process and summonses , and agrees that the failure of any of the Process
  Agents to give any notice to It of any such service of process shall not impair or attect the
 .validity of such service or of any judgment based thereon. The Issuer agrees to maintain at
   all times an agent with offices in New York to act as its New York Process Agent, and an
   agent with offices in London to act as its London Process Agent as aforesaid (each such
   agent to be appointed by an irrevocable power of attorney hereto granted before a
   Venezuelan notary public). Nothing herein shaJI in any way be deemed to limit the ability to
   serve any such writs, process or summonses in any other manner permitted by applicable
  law.

            (c) The Issuer Irrevocably consents to and waives any objection which it may
  now or hereafter have to the laying of venue of any Related Proceeding brought in any of
  the Specified Courts or to the faying of venue of any suit, action or proceeding brought
  solely for the purpose of enforcing or executing any Related Judgment in any of the
  Specified Courts or Other Couns, and further irrevocably waives, to the fullest extent it may



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 effectively do so, the defense of an inconvenient forum to the maintenance of any Related
 Proceeding or any such suit, action or proceeding in any such court.

            (d) To the extent that the Issuer or any of its revenues, assets or properties shall
 be entitled, with respect to any Related Proceeding at any time brought against the Issuer
 or any of Its revenues, assets or properties in any jurisdiction in which any Specified Court
 Is located, or with respect to any suit, action or proceeding at any time brought solely tor
 the purpose of enforcing or executing any Related Judgment in any jurisdiction in which any
 Specified Court or Other Court is located, to any immunity from suit, from the jurisdiction of
 any such coun, from anachment prior to judgment, from attachment in aid of execution of
 judgment, from execution of a judgment or from any other legal or judicial process or
 remedy. and to the extent that in any such jurisdiction there shall be attributed such an
 immunity, the Issuer Irrevocably agrees not to claim and irrevocably waives such immunity
 to the fullest extent permitted by the laws of such jurisdiction (including, without limitation,
 the Foreign Sovereign Immunities Act of 1976 of the United States) and consents generally
 for the purposes of the State Immunity Act of 1978 ot the United Kingdom to the giving of
 any relief or the Issue of any process in connection with any Related Proceeding or Related
 Judgment, provided that such agreement and waiver, insofar as it relates to any jurisdiction
 other than a jurisdiction in which a Specified Court is located, Is given solely for the purpose
 of enabling the Fiscal Agent, any Paying Agent or any holder to enforce or execute a
  Related Judgment. In addition, to the extent that the Issuer or any of its revenues, assets
 or properties shall be entitled, in any jurisdiction, to any immunity from set-off, banker's lien
  or any similar right or remedy, and to the extent that there shall be attributed, in any
  jurisdietion, such an immunity, the Issuer hereby irrevocablfl\grees not to claim and
  irrevocably waives such Immunity to the fullest extent p~'ff itted by the laws of such
  jurisdiction with respect to any claim, suit, action, pro~~ g, ~ht or remedy arising out of
  or in connection with this Agreement, any Secu?tY or a·coupon appertaining thereto.
                                               (? \-:)    .>
      15. conyersjon of Currencx.              ~f) -..

      The Issuer agrees that, if a judgment or order given or made by any Specified Court or
 Other Court for the payment of any amount in respect of any Security is expressed in a
 currency lthe "judgment currency"I other than the currency in which such Security is
 denominated (the "denomination currency"), the Issuer will pay any deficiency arising or
 resulting from any variation in rates of exchange between the date as of which the amount
 in the denomination currency Is notionally converted into the amount in the judgment
 currency for the purposes of such judgment or order end the date of actual payment
 thereof. This obligation will constitute a separate and independent obligation from the other
 obligations under the Securities, will give rise to a separate and independent cause of
 action, will apply irrespective of any waiver or extension granted from time to time and will
 continue in full force and effect notwithstanding any judgment or order for a liquidated sum
 or sums in respect of amounts due in respect of the relevant Security or under any such
 judgment or order. The term •rates of exchange• shall include any premiums and costs of
 exchange payable in connection with the purchase of or conversion into the denomination
 currency.

       1 s.   Headjnas.
      The section headings herein are for convenience only and shall not affect the
  construction hereof.                                 ·



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    17. countemuu11.
    This Agreement may be executed in any number of counterparts, each of which, when
so executed shall be deemed to be an original but all such counterparts shall together
constitute but one and the same instrument.




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    IN WITNESS WHEREOF~ the panies hereto ha,,e executed this Flscal Agency
Agreement as of the date first above written.




                                                BANCO CENTRAL DE VENEZUELA,
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                                            EXHIBIT o•

                         (FORM OF CERTIFICATE OF BENEFICIAL OWNERSHIPJ

                                           CERTIFICATE

                                    REPUBLIC OF VENEZUELA

                                      (TITLE OF SECURITIES)

      This is to cenify that as of the date hereof, [and except as set fonh below.) .. the
above-captioned Securities (held by you tor our account)•• Ito be acquired from your••
(i) are owned by person(s) that are not citizens or residents of the United States. domestic
partnerships, domestic corporations or any estate or trust the income of which is subject to
United States Federal income taxation regardless of its source (•United States personls)•),
(fi) are owned by United States person(s) that Ca) are foreign branches of United States
financial institutions (as defined in U.S. Treasury Regulations Section
1.165• 121c)(1 )(vi) (•financial Institutions•) purchasing for their own account or for resale. or
(bl acquired the Securities through foreign branches of United States financial instjtutions
and who hold the Securities through such Unhed States financial·Institutions on the date
hereof Cand in either case la) or (b). each such United States financial institution hereby
agrees. on its own behaif or through its agent. that you may advise the Issuer that it will
comply with the requirements of Section 165(j){3)(A), (Bl or (Cl of the Internal Revenue
Code of 1986, as amended, and the regulations thereunder). or (iii) are owned by United
States or foreign financial institutions for purposes of resale during the restricted period (as
defined in U.S. Treasury Regulations Section 1 .163-5(cl(2)11)(0l(7)l and. in addition, if the
owner of the Securities is a United States or foreign financial institution described in
clause tiiit above (whether· or not also described in clause (i) Ol\(ii)) this is to further certify
that such financial Institution has not acquired the Securitie~1for purposes of resale directly
or indirectly to a United States person or to a person withi'rtlhe U,Jlited States or its
          .
possessions.                                            r r       ~
                                                                         ·
                                                       (      \.)


     As used herein, •United States· means the~ itecf' States of America (including tha
States and the District of Columbia); and hs "pi>ssessicns• include Puerto Rico, the U.S.
Virgin Islands. Guam, American Samoa, Wake Island and the Northern Mariana Islands.

     {We undertake to advise you by tested telex if the above statement is not correct on
the date on which you intend to submit your certificate relating to such Securities to the




 •     For use in those Instances where a definitive bearer Security, a temporary bearer
       Security. a temporary bearer global Security or a definitive bearer global Security is
       delivered in an Offshore Offering to non-U.S. persons at the time of sale thereof.

 ••    To be included if the Certificate is being provided to EUROCLEAR or CEOEL BANK,
       societe anonyme.

 •••       To be included if the Certificate is being provided directly to the Issuer.


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                                                                                  this
Fiscal Agent, and in the absence of any such notificat ion it may be assumed that
cenifica te applies as of such date.)•
                                                                                   above
    This certifica te excepts and does not relate to $_ _ _of such interest in the
                                                                          we understa nd
Securities in respect of which we are not able to certify and as to which
exchange and delivery of definitiv e Securities cannot be made until we do 10 ce"ify.

     We understand that this certifica te is required in connection with certain tax laws of
                                                                                      are
~the United States. In connect ion therewit h, if administrative or legal proceedings
                                                                                        relevant.
 commen ced or threatened in connect ion with whlc:h thi~ cenifica te is or   would be
                                                            to any intereste d pany in such
 we Irrevocably authorize you to produce this certiflc
                                                              \

                                         ~{'0
proceedings.                                      ~


 Dated: _ _ _ _ _,. 199_                            v

 By:
       As, or aa agent tor, the
       benefici al ownerts ) of the
       Notes to which this
       certifica te relates.




        To be included if the Certifica te is being provided to Euroclear or CEDEL BANK.
                                                                                         socit!Jtt!J
   •
         anonyme.

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                                           EXHIBIT E

                            (FORM OF CERTIFICATE TO BE GIVEN
                             BY THE EUROCLEAR OPERATOR OR
                               CEDEL BANK, socilri enonyme)

                                         CERTIFICATE

                                   REPUBLIC OF VENEZUEl:A

                                    ITITLE OF SECUJi~             \
                                                 (     ,.,
     This is to certify that, based solely on<rer;tjti~ tions we h~e recei"ed in writing, by
tested telex or by electronic transmission f~      member organizations appearing in our
records as persons being entitled to a ponlon of the principal amount set forth below (our
•Member Organizations•) substantially to the effect set forth in the Fiscal Agency
Agreement. as of the date hereof, _ _ _ _ principal amount of the above-captioned
Securities (it Is owned by persons that are not citizens or residents of the United States,
domestic partnerships, domestic corporations or any estate or trust the income of which is
subject to United States Federaf income taxation regardless of its source r•United States
persons•), (ii) is owned by United States persons that (al are foreign branches of United
States financial Institutions (as defined in U.S. Treasury Regulations
Section 1.165-12(c)(1 )(v) t•financlal institutions•)) purchasing for their own account or tor
resale, or (b) acquired the Securities through foreign branches of United States financial
institutions and who hold the Securities through such United States financial institutions on
the date hereof (and in either case (a) or (bl, each such United States financial Institution
has agreed, on its own behalf or through its agent, that we may advise the Issuer that It
will comply with the requirements of Section 165(jH3)(A), (B) or (Cl of the lntemal Revenue
Code of 1986, as am~nded, and the regulations thereunder), or (iii) is owned by United
States or foreign financial institutions for purposes of resale during the restricted period las
defined in U.S•. Treasury Regulations Section 1.163-5(c)(2)(1)(0)(7)), and to the further
 effect that United States or foreign financial institutions described in clause (iii) above
 (whether or not also described in clause (I) or {ii)) have certified that thev have not acquired
the Securities for purposes of resale directly or Indirectly to a United States person or to a
 person within the United States or its possessions.

     As used herein, •United States• means the United States of America !Including the
States and the District of Columbia); and its •possessions• include Puerto Rico, the U.S.
Virgin Islands, Guam, American Samoa, Wake Island and the Nonharn Mariana Islands.

      We further cenify U) that we are not making available herewith for exchange (or, if
 relevant, exercise of any rights or collection of any interest) any portion of the temporary
 global Security excepted in such certifications and (ii) that as of the date hereof we have
 not received any notification from any of our Member Organizations to the effect that the
 statements-made by such Member Organizations with respect to any ponion of the part
 submitted herewith for exchange (or, if rele"ant, exercise of any rights or collection of any
 interest) are no longer true and cannot be relied upon as of the date hereof.
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     We understand that this cenification is required in connection with certain tax laws
and, if applicable. certain securities laws of the United States. In connection therewith, if
administrative or legal proceedings are commenced or threatened In connection with which
this certification is or would be ralavant, we Irrevocably authorize you 10 produce this
certification to any interested pany in such proceedings.

Dated: _ _ _ _ _., 199_

                            Yours faithfully,

                            MORGAN GUARANTY TRUST COMPANY OF NEW YORK,
                            Brussels office, as operator ofthe EUROCLEAR System

                                      or        ~~ }             ·
                                                  '
                                     11rr.:.!616·anonyme
                            CEDEL BAN.~


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